                  Case 3:15-cv-03945-WHO Document 86-1 Filed 04/26/17 Page 1 of 123


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 7   Attorneys for Defendant
     DANCO BUILDERS
 8

 9                                  IN THE UNITED STATES DISTRICT COURT

10                                   NORTHERN DISTRICT OF CALIFORNIA

11   PHILADELPHIA INDEMNITY                                      Case No.:     15-cv-03945-WHO
     INSURANCE COMPANY,
12                                                               DECLARATION OF D. DAVID STEELE IN
                      Plaintiff,                                 SUPPORT OF DEFENDANT DANCO
13                                                               BUILDERS' MOTIONS IN LIMINE (Nos. 1-
             vs.                                                 6)
14
     DANCO BUILDERS and DOES 1 to 10,                            Trial Date:   June 5, 2017
15                                                               Judge:        Hon. William H. Orrick
                      Defendants.
16   11-------------------~


17           I, D. David Steele, declare:

18           1.       I am an attorney duly licensed to practice in all courts of the State of California, and in

19   the United States District Court, Northern District of California. I am a partner with the law firm of

20   Y aron & Associates attorneys of record for defendant Danco Builders (hereafter "Danco"). I have

21   personal knowledge of the information set forth herein, all of which is true and correct of my own

22   personal knowledge, and if called upon to testify, I could and would competently testify thereto.

23           2.       Attached as Exhibit 1 is a true and correct copy of the Complaint, filed on August 28,

24   2015.

25           3.       Attached as Exhibit 2 is a true and correct copy of the Third Amended Complaint, filed

26   on February 2, 2016.

27           4.       Attached as Exhibit 3 is a true and correct copy of Danco's Special Interrogatories,

28   served on Plaintiff on March 30, 2016.
                                                          - 1-
          DECLARATION OF D. DAVJD STEELE IN SUPPORT OF DEFENDANT DANCO BUILDERS' MOTIONS lN
                                                            LIMINE (NOS. 1-6)
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              Case 3:15-cv-03945-WHO Document 86-1 Filed 04/26/17 Page 2 of 123


 1          5.      Attached as Exhibit 4 is a true and correct copy of Plaintiffs Responses to Danco's

 2   Special Interrogatories, served on Danco on April 29, 2016.

 3          6.      Attached as Exhibit 5 is a true and correct copy of excerpts of Jeff Hughes'

 4   Supplemental Rule 26 Report, dated October 27, 2016.

 5          7.      Attached as Exhibit 6 is a true and correct copy of excerpts of Larry Pelton's deposition

 6   transcript, taken on August 19, 2016, ("Pelton Dep. 1").

 7          8.      Attached as Exhibit 7 is a true and correct copy of excerpts of Jeff Hughes' deposition

 8   transcript, taken on January 10, 2017.

 9          9.      Attached as Exhibit 8 is a true and correct copy of excerpts of Patrick Kelley's Rule 26

10   Report, dated September 22, 2016.

11          10.     Attached as Exhibit 9 is a true and correct copy of excerpts of Patrick Kelley's

12   deposition transcript, taken on January 11, 2017.

13          11.     Attached as Exhibit 10 is a true and correct copy of excerpts of Patrick Kelley's

14   Supplemental Rule 26 Report, dated October 20, 2016.

15          12.     Attached as Exhibit 11 is a true and correct copy of excerpts of Larry Pelton's,

16   deposition transcript, taken on January 9, 2017, ("Pelton Dep. 2").

17          13.     Attached as Exhibit 12 is a true and correct copy of excerpts of Matthew Cardle's

18   Supplemental Rule 26 report, dated October 10, 2016.

19          14.     Attached as Exhibit 13 is a true and correct copy of excerpts of Vytenis Babrauskas'

20   deposition transcript, taken on January 3, 2017.

21          15.     Attached as Exhibit 14 is a true and correct copy of excerpts of Vytenis Babrauskas'

22   Rule 26 report, dated October 21, 2016.

23          16.     Attached as Exhibit 15 is a true and correct copy of excerpts of Dr. Bernard Cuzzillo' s

24   Rule 26 report, dated September 21, 2016.

25

26

27

28
                                                         -2-
          DECLARATION OF D. DA YID STEELE IN SUPPORT OF DEFENDANT DANCO BUILDERS' MOTIONS IN
                                                           LIMINE (NOS. 1-6)
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              Case 3:15-cv-03945-WHO Document 86-1 Filed 04/26/17 Page 3 of 123


 1

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 3
                                                       :P{r:._7_.__
            I declare under penalty of perjury under the laws of the United States of America that the

     foregoing is true and correct. and this declaration


 4                                                     D. David Steele
 5

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                                                           -3-
          DECLARATION OF D. DAVID STEELE IN SUPPORT OF DEFENDANT DANCO BUILDERS' MOTIONS IN
                                                            LIMINE (NOS. 1-6)
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Case 3:15-cv-03945-WHO Document 86-1 Filed 04/26/17 Page 4 of 123




         EXHIBIT 1
     Case 3:15-cv-03945-WHO Document 86-1 Filed 04/26/17 Page 5 of 123
              Case 3:15-cv-03945-WHO Document 1 Filed 08/28/15 Page 1 of 4



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 4

 5    Attorneys for Plaintiff
 6
 7
                              IN THE UNITED STATES DISTRICT COURT
 8

 9                              NORTHERN DISTRICT OF CALIFORNIA

10
11
       PHILADELPIDA INDEMNITY                                 Case No.
12     INSURANCECOMPANY,
                                                              COMPLAINT IN SUBROGATION
13                                           Plaintiff,       FOR DAMAGES

14                             v.
15     DANCO BUILDERS, DOES I to 10
       Inclusive,
16
                                          Defendants.
17
18
                 Plaintiff PHILADELPIDA INDEMNITY INSURANCE COMPANY alleges:
19
      I.         Philadelphia Indemnity Insurance Company is a corporation incorporated under the
20
21               laws of the State of Pennsylvania having its principal place of business in the State

22               of Pennsylvania.
23
24    2·         DANCO Builders is a corporation incorporated under the laws of the State of

25               California having its principal place of business in the State of California.
26
      3           Plaintiff is ignorant of the true names and capacities of defendants sued hereunder
27        ·
28                as DOES 1 to I 0, inclusive, and therefore sues these defendants by such fictitious

                                    COMPLAINT IN SUBROGATION FOR DAMAGES
                                                          I
     Case 3:15-cv-03945-WHO Document 86-1 Filed 04/26/17 Page 6 of 123
           Case 3:15-cv-03945-WHO Document 1 Filed 08/28/15 Page 2 of 4



 1             names. Plaintiff will amend this complaint to allege their true names and
 2
               capacities when ascertained.
 3

 4    4.       This action being between citizens of entirely different states, and involving matters
 5             in controversy which exceed $75,000 in value, exclusive of interest and costs, this
 6
               Court has subject matter jurisdiction pursuant to 28 United States Code Sec.
 7
               1332(a).
 8

 9
      5.       All of the Defendant's actions and agreements as set forth below took place within
10
               Humboldt County, California. Defendant's principal place of business being within
11
12             Humboldt County. The venue of this action is in the Eureka Division of the

13             Northern District of California, within which Humboldt County, California,
14
               pursuant to 28 United States Code Sec. 1391.
15
16    6.       Willow Creek Family Associates hereinafter "the insured" is, and at all times herein
17             mentioned was, the owner of real property, hereinafter "the property," known as
18
               520 N Highway 96, Willow Creek, California,            more particularly described as
19
               follows: Willow Creek Apartments.
20

21
      7.       At all times herein mentioned, the insured was insured by Plaintiff under a policy of
22
               property insurance, hereinafter "the policy," by the terms of which Plaintiff insured
23
24             the insured against, among other risks, any loss or damage resulting from any

25             improper construction of a building on the property.
26

27          8. Defendant DANCO Builders, hereafter "defendant contractor," is, and at all times
28             herein mentioned was, a corporation organized and existing under the laws of the

                                COMPLAINT IN SUBROGATION FOR DAMAGES
                                                      2
     Case 3:15-cv-03945-WHO Document 86-1 Filed 04/26/17 Page 7 of 123
        Case 3:15-cv-03945-WHO Document 1 Filed 08/28/15 Page 3 of 4



 1          State of California, with its principal place of business in Humboldt County, and
 2
            engaged in business as a general contractor.
 3

 4       9. On or about 2008 a fire occurred on the deck of apartment 526 of Building F of
 5          the Willow Creek Apartments.
 6

 7       I 0. Plaintiffs insured requested and Defendant agreed to provide all labor and

 8          materials and to repair the fire damage.
 9

10       ! I.During and as part of his performance of the contract, and as a part of the fire
11          damage repair, Defendant was negligent.
12
         12. Defendant installed decking materials that violated the California Building Code.
13
14
         13. Defendant knew or should have known that the installation of such decking was a
15
            violation of the Building Code.
16
17       14.Defendant so negligently performed the fire repair work that on December 16,
18
            2013 fire engulfed the second level of apartment 526, Building F, originating at
19
            the deck, and spread to other portions of the building, damaging it.
20
21
         15.As a proximate result of the negligence of Defendant and the damage to the
22
            building as herein alleged, the insured was required to, and did, make payments
23
24          .for renairs made the building to put it in proper condition.

25
         16. The reasonable the cost of the repairs was $669,052.19, Plaintiff, pursuant to the
26

27          terms of its policy, reimbursed its insured in the sum of $664,052.19, and thereby

28


                              COMPLAINT IN SUBROGATION FOR DAMAGES
                                                    3
      Case 3:15-cv-03945-WHO Document 86-1 Filed 04/26/17 Page 8 of 123
            Case 3:15-cv-03945-WHO Document 1 Filed 08/28/15 Page 4 of 4



 1               became subrogated to all of the insured's rights,and is entitled to enforce all of
 2
                 the insured' s remedies, again.st defendants.
 3
 4           17. WHEREFORE, Plairtti.ffpraysjudgII1ent against defendant as hereinafter set
 5
                 forth.
 6
                 Accordingly, the Plaintiffs each respectfully a resulting judgment to include the
 7
 8        following relief (and. any further relief which the Comt may find to bejustified by the

 9        evidence and by a jury's verdict):
10
                 1..   A monetary· Judgment requiring the Defendant to pay to the Plaintiff
11
                 $664,052.19, an amount in compensatoi:y da111ages to be proven at the trial hereof;
12
13'              2 .. A monetary judgment requidng the Defendant to pay to th~ Plaintiff
14               prejudgment interest on any amoUI1t of damages recovered; and
15
                 .3.An award of reasonable court costs, and litigation e};',penses in a further amount
16
                 cletermined by the Court after the return of any verdict in this proceeding,
17
18        Thisthe28t11 dayofAugust,2015.

1.9                                                        Respectfully supmitteq,
20
21

22
23
                                                           By: _ _ _ _ _ _ __        ----
                                                           STEPHEN . OLE
24                                                         The Cole La      inn
                                                           3410 Industrial Blvd., Suite 100
25                                                         West Sacramento, CA 95691
                                                           Tel: (916) 376,.0486
26    I                                                    Fax: (916) 376-0478
27
28

                                   COMPLAllllT IN SUBROGATION FOR DAMAGES
                                                       4
Case 3:15-cv-03945-WHO Document 86-1 Filed 04/26/17 Page 9 of 123




         EXHIBIT 2
     Case 3:15-cv-03945-WHO Document 86-1 Filed 04/26/17 Page 10 of 123
        Case 3:15-cv-03945-WHO Document 43 Filed 02/02/16 Page 1 of 6



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 4
 5    Attorneys for Plaintiff

 6

 7

 8

 9                         IN THE UNITED STATES DISTRICT COURT

10                          NORTHERN DISTRICT OF CALIFORNIA
11
       PHILADELPHIA INDEMNITY                           Case No. 15-cv-03945-WHO
12     INSURANCE COMPANY,
                                                        THIRD AMENDED COMPLAINT
13                                      Plaintiff,      IN SUBROGATION FOR
                                                        DAMAGES
14                          v.
15     DANCO BUILDERS, DOES 1 to 10
       Inclusive,
16
                                      Defendants.
17
18
19           As its Third Amended Complaint in this action, leave of court first had and
20    received, Plaintiff PHILADELPHIA INDEMNITY INSURANCE COMPANY alleges:

21                                           The Parties

22        1. Philadelphia Indemnity Insurance Company is a corporation incorporated under

23           the laws of the State of Pennsylvania having its principal place of business in the

24           State of Pennsylvania.

25       2. DANCO Builders (hereinafter referred to as "DANCO") is a corporation

26           incorporated under the laws of the State of California having its principal place of

27           business in the State of California. At all times, DANCO was a general building

28,          contractor.

                                      THIRD AMENDED COMPLAINT IN SUBROGATION FOR DAMAGES
                                                 l                 [CASE NO.: l5-cv-03945-WHO]
     Case 3:15-cv-03945-WHO Document 86-1 Filed 04/26/17 Page 11 of 123
       Case 3:15-cv-03945-WHO Document 43 Filed 02/02/16 Page 2 of 6



 1       3. Schmidbauer Building Supply (hereinafter referred to as "SCHMIDBAUER") is a

 2          limited liability company under the law of the State of California having its

 3          principal place of business in the State of California. At all              times,

 4          SCHMIDBAUER engaged in business of retail sales of building supplies.

 5       4. Plaintiff is ignorant of the true names and capacities of defendants sued hereunder

 6          as DOES 1 to 10, inclusive, and therefore sues these defendants by such fictitious

 7          names. Plaintiff ·will amend this complaint to allege their true names and

 8          capacities when ascertained.

 9                                    Jurisdiction and Venue

10       5. This action being between citizens of entirely different states, and involving

11          matters in controversy which exceed $75,000 in value, exclusive of interest and

12          costs, this Court has subject matter jurisdiction pursuant to 28 United States Code

13          Sec. 1332(a).

14       6. Defendants' actions, as set forth below, took place within Humboldt County,

15          California. Defendants' principal place of business being within Humboldt

16          County.

17       7. The venue of this action is in the Eureka Division of the Northern District of

18          California, within which Humboldt County, California, pursuant to 28 United

19          States Code Sec. 1391.

20                       The Facts Applicable To All Causes Of Action

21       8. Willow Creek Family Associates is, and at all times herein mentioned was, the

22          owner of real property, hereinafter "the property," known as 520 N Highway 96,

23          Willow Creek, California, more particularly described Willow Creek Apartments

24          (hereinafter referred to as '"WILLOW CREEK").

25       9. Plaintiff insured WILLOW CREEK under a policy of property insurance by the

26          terms of which it was insured against, among other risks, any loss or damage to
            the property under certain circumstances.



                                     THIRD AMENDED COMPLAINT IN SUBROGATION FOR DAMAGES
                                                2                 [CASE NO.: IS-cv-03945-WHOJ
     Case 3:15-cv-03945-WHO Document 86-1 Filed 04/26/17 Page 12 of 123
       Case 3:15-cv-03945-WHO Document 43 Filed 02/02/16 Page 3 of 6



 1       10. SCHMIDBAUER is, and at all times herein mentioned was, a corporation

 2          organized and existing under the laws of the State of California, with its principal

 3          place of business in Humboldt County, and engaged in business of retail sales of

4           building supplies.

 5       11. On September 1, 2006, Defendant, DANCO Builders and Willow Creek Family

 6         Associates entered into a contract in which DANCO agreed to serve as a general

 7          contractor and agreed to furnish all labor and purchase building materials for the

 8          construction of WILLOW CREEK.

 9       12. WILLOW CREEK hired Eric Roberts, dba Pacific West Architecture, to provide

10          plans, including specified building materials for WILLOW CREEK, to be used by

11          DANCO.

12       13. On information and belief, DANCO selected and purchased wood plasti_c

13          composite     decking        (hereinafter   referred   to   as   '"DECKING")   from

14          SCHMIDBAUER.

15       14. The DECKING DANCO purchased from SCHMIDBAUER was not the

16          DECKING Eric Roberts specified for use at WILLOW CREEK.

17       15. DANCO installed the DECKING in 2006, in its original construction of

18          WILLOW CREEK,

19       16. On December 16, 2013 a tenant at the WILLOW CREEK disposed of a cigarette

20          on the balcony of apartment 524, Building F. Rather than self-extinguishing, the

21          fire ignited the DECKING and engulfed the second level of apartment 524,

22          Building F, and spread to other p011ions of the building, damaging it.

23       17. WILLOW CREEK tendered its claim for an losses and damages resulting from

24          the incident to Plaintiff.

25       18. The reasonable the cost of the repairs was $669,052.19, including loss ofrent.

26       19. Upon information and belief, reasonable cost of repairs to the DECKING and

27          siding as a result of the fire was $20,000.

28
                                         THIRD AMENDED COMPLAINT IN SUBROGATION FOR DAMAGES
                                                    3                 [CASE NO.: 15-cv-03945-WHO]
     Case 3:15-cv-03945-WHO Document 86-1 Filed 04/26/17 Page 13 of 123
        Case 3:15-cv-03945-WHO Document 43 Filed 02/02/16 Page 4 of 6




 1       20. Reasonable cost of repair of damages as a result of the spread of the fire was

 2          $649,052.19.

 3       21. Plaintiff, pursuant to the terms of its policy, reimbursed its insured in the sum of

 4          $669,052.19, and thereby became subrogated to all of the insured's rights, and is

 5          entitled to enforce all of the insured's remedies, against defendants as to the

 6          repairs for the spread of the fire, of $649,052.19.

 7       22. Plaintiff paid for the damages resulting from the incident in order to protect its

 8          own interest. Plaintiff did not act as a volunteer. Plaintiff was not primarily liable

 9          for the damages. Plaintiff paid the entire amount of damages due to the spread of

10          the fire. Subrogation in this matter will not work as an injustice to the rights of

11          others.

12                            Count 1- Negligence (Danco Builders)

13       23 . PHILADELPHIA INDEMNITY INSURANCE COMPANY realleges and

14          incorporates herein by reference paragraphs I through 22 as if fully set forth

15          herein.

16       24. DANCO installed all DECKING at WILLOW CREEK ..

17       ~5. DANCO knew or should have known when purchasing and installing the

18          DECKING that it was composed of highly combustible materials and therefore

19          unsafe, creating an unreasonable risk of injury and harm to WILLOW CREEK.

20       26. In 2006, DANCO was negligent in selecting, purchasing and installing

21          DECKING at WILLOW CREEK.

22       27.On December 16, 2013 a tenant at the WILLOW CREEK disposed ofa cigarette.

23          J:lather than self-extinguishing, the fire ignited the deck and engulfed the second

24          Jevel of apartment 524, Building F, and spread to other portions of the building, ,

25          damaging it.

26       28.As a proximate result of the DANCO's negligence and the damage to the building

27          as herein alleged, the insured was required to, and did, make payments for repairs

28          made to the building.

                                     THIRD AMENDED COMPLAINT IN SUBROGATION FOR DAMAGES
                                                4                 [CASE NO.: 15-cv-03945-WHO]
     Case 3:15-cv-03945-WHO Document 86-1 Filed 04/26/17 Page 14 of 123
       Case 3:15-cv-03945-WHO Document 43 Filed 02/02/16 Page 5 of 6



 1       29. WHEREFORE, Plaintiff prays judgment against DANCO as hereinafter set forth.
 2      Count 2 - 2006 Construction - Strict Product Liability (Schmidbauer Building
 3                                            Supplies)
4        30. PHILADELPHIA INDEMNITY INSURANCE COMPANY realleges and
 5          incorporates herein by reference paragraphs I through 22 as if fully set forth

6           herein.
 7       31.On or about December 16, 2013 was damaged by the DECKING purchased from
 8          SCHMIDBAUER and installed by DANCO at WILLOW CREEK.
 g       32.knew, or should have known that DECKING would be used without inspection

1o          for defects.
11       33. DECKING product was defective in design, manufacture and/or instruction when
12          it left the control of the Defendant.
13       34. The DECKING was being used in the manner intended by the Defendants.
14       35.Plaintiffwas the insurer of WILLOW CREEK, the DECKING product user.
15       36.Plaintiff is informed and believes and thereon alleges that at all times herein
16          mentioned that Defendant SCHMIDBAUER, was, and is, a distributor of building
17          materials, including DECKING, for retail sale to the public, in the ordinary
18          course of business.
19       37. Defendant SCHMIDBAUER sold the DECKING to DANCO.
20       38. At all times mentioned in this complaint, the DECKING was unsafe for its
21          intended use.
22       39. The DECKING was being used in a manner foreseeable by SCHMIDBAUER..
23       40. As a direct and proximate cause of Defendant's sale of the DECKING, the
24           insured was required to, and did, make payments for repairs made to the building.
25       41. WHEREFORE, plaintiff prays judgment as hereinafter set forth.
26           Accordingly, the Plaintiffs each respectfully a resulting judgment to include the
27    following relief (and any further relief which the Court may find to be justified by the
28    evidence and by a jury's verdict):

                                     THIRD AMENDED COMPLAINT IN SUBROGATION FOR DAMAGES
                                                5                 [CASE NO.: 15-cv-03945-WHO]
     Case 3:15-cv-03945-WHO Document 86-1 Filed 04/26/17 Page 15 of 123
           Case 3:15-cv-03945-WHO Document 43 Filed 02/02/16 Page 6 of 6



 1              L      A monetary judgment requiring the Defendants to pay to the Plaii1.tiff

 2              $649,052.19, an amount in compensatory damages to be proven at the trial

 3              hereof;

 4              2.     A monetary judgment: requiring the Defendants to pay to the Plaintiff

 5              prejudgment interest on any amount of damages recovered; and

 6              3.     An award of reasonable court costs, and litigation expenses ·in a further
 1I             amount determined by the Court after the return of any verdict in this proceeding.
 s   i         st
          This 1 day ofFebruary 2016.
                                                        Respectfully submitted,
 9l
     !!
10   1

11                                                      By: - - - - - f - - - - - - -
                                                        STE
12                                                      The C e La Firnt
                                                        3410 In     riaLBJvd., Suitel00
13                                                      West Sacramento, CA 95691
                                                        Tel: (916) 376-0486
14                                                      Fax: (916)376-0478
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28:

                                        THIRD AMENQED COMPLAINT IN SUBROGATION FOR DAMAGES
                                                   6                 [CASE NO,: l5-cv-03945~WHO]
Case 3:15-cv-03945-WHO Document 86-1 Filed 04/26/17 Page 16 of 123




         EXHIBIT 3
     Case 3:15-cv-03945-WHO Document 86-1 Filed 04/26/17 Page 17 of 123




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 6   Facsimile: (415) 658-2930

 7   Attorneys for Defendant
     DANCO BUILDERS
 8

 9                                   UNITED STATES DISTRICT COURT

10                                  NORTHER DISTRICT OF CALIFORNIA

11
                                    )                        CASE NO. 15-cv-03945-WHO
12 PHILADELPHIA INDEMNITY INSURANCE )
   COMPANY,                         )
13                                           )               DEFENDANT DANCO BUILDERS'
                      Plaintiff,             )               SPECIAL INTERROGATORIES
14                                           )
         ~                                   )
15                                           )
     DANCO BUILDERS, DOES I to 10 Inclusive, )
16                                           )
               Defendants.                   )
17
     ________________                        )
                                             )
18

19
     PROPOUNDING PARTY:                           DEFENDANT DANCO BUILDERS
20
     RESPONDING PARTY:                            PLAINTIFF PHILADELPHIA INDEMNITY INSURANCE
21                                                COMPANY

22 SET NUMBER:                                    ONE

23           Defendant DANCO BUILDERS ("DANCO") requests that Plaintiff PHILADELPHIA

24 INDEMNITYINSURANCECOMPANY("PHILADELPHIA")answerunderoath, withinthirty(30)

25 days, in accordance with Federal Rule of Civil Procedure 33, the following interrogatories.

26           You are hereby notified that at the commencement of trial of this case, DANCO will ask the

27 Court for an order precluding you from introducing evidence related to the subject matter of the

28 inten-ogatories which has not been disclosed by the answers to these interrogatories.


     DANCO's Special Interrogatories, Set No. 1                            G:\4976\Discovery\SI.Philadclphia.wpd
      Case 3:15-cv-03945-WHO Document 86-1 Filed 04/26/17 Page 18 of 123




 1                                              DEFINITIONS

 2            1.      The terms "YOU" and "YOUR" refers to Plaintiff PHILADELPHIA INDEMNITY
 3 INSURANCE COMPANY, anyone acting on its behalf, its agents, its employees, its companies, its
 4 attorneys, its accountants, its investigators, and anyone else acting on its behalf.
 5           2.       The term "DANCO" refers to Defendant DANCO BUILDERS and/or its parent or
 6 subsidiary companies, successors, related entities, divisions, partners and joint venturers.
 7           3.       The term "THIRD AMENDED COMPLAINT" refers to YOUR Third Amended
 8 Complaint, filed in this action on our about February 2, 2016.
 9           4.       The term "SCHMIDBAUER" refers to Defendant SCHIMDBAUER BUILDING
10 SUPPLY, as identified in the THIRD AMENDED COMPLAINT.
11           5.       The term "INSURED" refers to PHILADELPHIA's alleged insured, Willow Creek
12 Family Associates, as identified in the THIRD AMENDED COMPLAINT.
13           6.       The term "WILLOW CREEK" refers to the INSURED's property, Willow Creek
14 Apartments, as identified in the THIRD AMENDED COMPLAINT.
15           7.       The terms "REPAIRS" and "REPAIRED" means to restore by replacing a part or
16 putting together a part that has been damaged or broken.
17           8.       The term "MANUFACTURED" means to make from raw materials by hand or by
18 machinery.
19           9.       The term "IDENTIFY," when used in reference to a building, means to state the name,
20 former name, owner, location and date of construction, locations and dates of conversion or repair
21 for the particular building.
22           10.     The term "PERSON" includes natural persons, a firm, association, organization,
23 partnership, business, trust, corporation, or public entity.
24           1 I.    The term "IDENTIFY," when used with respect to PERSON(s), shall mean a
25 statement of the PERSON's full name, title, residential and business addresses, and telephone
26 numbers.
27           12.     The term "IDENTIFY," when used in reference to a facility, means to state the name,
28 street address, city, state, and zip code for each facility.


     TODD's Special Interrogatories                     2                    G:\4976\Discovery\SI.Philadelphia. wpd
     Case 3:15-cv-03945-WHO Document 86-1 Filed 04/26/17 Page 19 of 123




 1            13.     The term "DOCUMENT" means a writing, as defined in Rule 1001 of the Federal

 2   Rules of Evidence, and includes, but is not limited to the originals, copies, hand written, printed,

 3 typed, photostat, photograph, or otherwise recorded materials, however produced or reproduced, of

 4 every kind and description in whatever form (e.g. final and draft versions), in your possession,

 5   custody, care, or control, including, but not limited to, all writings, correspondence, letters, notes,

 6 memoranda, reports, studies, charts, photographs, videotapes, accountingrecords,journals, calendars,

 7   appointment books, diaries, drawings, sound recordings, computer documents, computer diskettes,

 8 computer files, and other data compilations from which information can be obtained or translated.

 9 The term "DOCUMENT" also refers to originals and copies of all the above, upon which notations

10 in writing, printed or otherwise, which do not appear on the originals.

11           14.      The term "IDENTIFY," when used in reference to "DOCUMENT(s)," means to

12 describe specifically the DOCUMENT(s), including a description of its type (e.g., letter
13 memorandum, telegram, chart, etc.), and to state its date, author, addressee, title, file identification
14 number or symbol, and to identify the present location and the nan1e and last known address of the
15 present custodian of such DOCUMENT(s). If any such DOCUMENT(s) are no longer in YOUR
16 possession or subject to YOUR control, state what disposition was made and the time and date of

17 such disposition, identifying any PERSON(s) having knowledge of its content.

18           15.     The term "IDENTIFY," when used in reference to a product, means to describe the

19 product by the name under which it is sold in the market place (trade name), its generic name, or any

20 slang or nickname used in YOUR occupation.

21                                    SPECIAL INTERROGATORIES

22 INTERROGATORY NO. 1:

23           Please state all facts that support YOUR allegation in Paragraph 13 of the TIIlRD

24 AMENDED COMPLAINT that, "On information and belief, DANCO selected and purchased wood

25 plastic composite decking (hereinafter refe1Ted to as "DECKING") from SCHMIDBAUER."

26   INTERROGATORY NO. 2:

27           Please IDENTIFY all DOCUMENTS that support YOUR allegation in Paragraph 13 of the

28 THIRD AMENDED COMPLAINT that, "On infonnation and belief, DANCO selected and


     TODD's Special Interrogatories                     3                     G:\4976\Discovery\Sl.Philadelphia.wpd
      Case 3:15-cv-03945-WHO Document 86-1 Filed 04/26/17 Page 20 of 123




 1 purchased wood plastic composite decking (hereinafter referred to as "DECKING") from

 2 SCHMIDBAUER."

 3   INTERROGATORY NO. 3:

 4           Please IDENTIFY all PERSON(s) who have knowledge supp01ting YOUR contention in

 5 Paragraph 13 of the THIRD AMENDED COMPLAINT that, "On information and belief, DANCO

 6 selected and purchased wood plastic composite decking (hereinafter referred to as "DECKING")

 7 from SCHMIDBAUER."

 8   INTERROGATORY NO. 4:

 9           Please state all facts that support YOUR allegation in Paragraph 14 of the THIRD

10 AMENDED COMPLAINT that, "The DECKING DANCO purchased from SCHMIDBAUER was

11 not the DECKING Eric Roberts specified for use at WILLOW CREEK."

12 INTERROGATORY NO. 5:
13           Please IDENTIFY all DOCUMENTS thatsupportYOURallegationin Paragraph 14ofthe

14 THIRD AMENDED                COMPLAINT that, ''The DECKING DANCO purchased from

15 SCHMIDBAUER was not the DECKING Eric Roberts specified for use at WILLOW CREEK."

16 INTERROGATORY NO. 6:

17           Please IDENTIFY all PERSON(s) who have knowledge supporting YOUR contention

18 Paragraph 14 of the THIRD AMENDED COMPLAINT that, ''The DECKING DANCO purchased

19 from SCHMIDBAUER was not the DECKING Eric Roberts specified for use at WILLOW

20 CREEK."
21 INTERROGATORY NO. 7:
22           Please state all facts that support YOUR allegation in Paragraph 25 of the THIRD

23 AMENDED COMPLAINT that, "DANCO knew or should have known when purchasing and

24 installing the DECKING that it was composed of highly combustible materials and therefore unsafe,

25 creating an unreasonable risk of injury and harm to WILLOW CREEK."

26 INTERROGATORY NO. 8:

27           Please IDENTIFY all DOCUMENT(s) supporting YOUR contention in Paragraph 25 of the

28 THIRD AMENDED COMPLAINT that, "DANCO knew or should have known when purchasing


     TODD's Special Interrogatories                 4                    G:\4976\Discovery\SI.Philadelphia. wpd
     Case 3:15-cv-03945-WHO Document 86-1 Filed 04/26/17 Page 21 of 123




 1 and installing the DECKING that it was composed of highly combustible materials and therefore
 2 unsafe, creating an unreasonable risk of injury and hmm to WILLOW CREEK."

 3 INTERROGATORY NO. 9:

 4           Please IDENTIFY all PERSON(s) who have knowledge supporting YOUR contention in

 5 Paragraph 25 of the THIRD AMENDED COMPLAINT that, "DANCO knew or should have known

 6 when purchasing and installing the DECKING that it was composed of highly combustible materials

 7   and therefore unsafe, creating an unreasonable risk of injury and harm to WILLOW CREEK."

 8 INTERROGATORY NO. 10:

 9           Please state all facts that support YOUR allegation in Paragraph 26 of the THIRD

10 AMENDED COMPLAINT that, "In 2006, DANCO was negligent in selecting, purchasing and

11 installing DECKING at WILLOW CREEK."

12 INTERROGATORY NO. 11:

13           Please IDENTIFY all DOCUMENT(s) with knowledge supporting YOUR allegation in

14 Paragraph 26 of the TIDRD AMENDED COMPLAINT that, "In 2006, DANCO was negligent in
15 selecting, purchasing and installing DECKING at WILLOW CREEK."

16 INTERROGATORY NO. 12:

17           Please IDENTIFY all PERSON(s) with knowledge suppmting YOUR allegation in Paragraph

18 26 of the THIRD AMENDED COMPLAINT that, "In 2006, DANCO was negligent in selecting,

19 purchasing and installing DECKING at WILLOW CREEK."

20 INTERROGATORY NO. 13:

21           Please state all facts that support YOUR allegation in Paragraph 27 of the THIRD

22 AMENDED CO:tvlPLAINT that, "On December 16, 2013 a tenant at the WILLOW CREEK disposed

23 _o f a cigarette. Rather than self-extinguishing, the fire ignited the deck and engulfed the second level

24 of apartment 524, Building F, and spread to other portions of the building, damaging it."

25   INTERROGATORY NO. 14:

26           Please IDENTIFY all DOCUMENT(s) that suppo1t YOUR allegation in Paragraph 27 of the

27 THIRD AMENDED COMPLAINT that, "On December 16, 2013 a tenant at the WILLOW CREEK

28 disposed of a cigarette. Rather than self-extinguishing, the fire ignited the deck and engulfed the


     TODD's Special Interrogatories                     5                      G:\4976\Discovcry\SI.Philadclphia.wpd
     Case 3:15-cv-03945-WHO Document 86-1 Filed 04/26/17 Page 22 of 123




 1 second level of apartment 524, Building F, and spread to other portions of the building, damaging

 2 it."

 3 INTERROGATORY NO. 15:

 4           Please IDENTIFY all PERSON(s) with knowledge supporting YOUR allegation in Paragraph

 5 27 of the THIRD AMENDED COMPLAINT that, "On December 16, 2013 a tenant at the WILLOW

 6 CREEK disposed of a cigarette. Rather than self-extinguishing, the fire ignited the deck and

 7 engulfed the second level of apartment 524, Building F, and spread to other portions of the building,

 8 damaging it."

 9 INTERROGATORY NO. 16:

10           Please state all facts that support YOUR allegation in Paragraph 28 of the THIRD

11 AMENDED COMPLAINT that, "As a proximate result of the (sic) DANCO's negligence and the

12 damage to the building as herein alleged, the insured was required to, and did, make payments for

13 repairs to the building."

14 INTERROGATORY NO. 17:

15           Please IDENTIFY all DOCUMENT(s) that support YOUR allegation in Paragraph 28 of the

16 THIRD AMENDED COMPLAINT that, "As a proximate result of the (sic) DANCO's negligence

17 and the damage to the building as herein alleged, the insured was required to, and did, make

18 payments for repairs to the building."

19 INTERROGATORY NO. 18:

20           PleaseIDENTIFYallPERSON(s)withknowledgesupportingYOURallegationinParagraph

21 28 of the THIRD AMENDED COMPLAINT that, "As a proximate result of the (sic) DANCO's

22 negligence and the damage to the building as herein alleged, the insured was required to, and did,

23 make payments for repairs to the building."

24 Ill

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28 Ill


     TODD's Special Interrogatories                   6                     G:\4976\Discovery\SI.Philadelphia.wpd
     Case 3:15-cv-03945-WHO Document 86-1 Filed 04/26/17 Page 23 of 123




 1 DATED: March 30, 2016                    YARON & ASSOCIATES

 2
 3

 4
                                         Byp~
                                            -GEORGE D. YARON
                                             D. DAVID STEELE
                                             ERICA L. MORRIS
 5                                           Attorneys for Defendant
                                             DANCO BUILDERS
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     TODD's Special Interrogatories     7                    G:\4976\Discovery\SJ.Philadelphia wpd
            Case 3:15-cv-03945-WHO Document 86-1 Filed 04/26/17 Page 24 of 123




 1                                              PROOF OF SERVICE
 2         I am over 18 years of age and not a party to the within action. I am employed in the
     County of Alameda; my business address is Yaron & Associates, 13 00 Clay Street, Suite 800,
 3   Oakland, California, 94612.

 4           On March 30, 2016, I served the within:

 5           DEFENDANT DANCO BUILDERS' SPECIAL INTERROGATORIES, SET ONE

 6   as addressed below, by causing a true copy thereof to be distributed as follows:

 7                                       SEE ATTACHED SERVICE LIST
 8   ( X)   VIA U.S. MAIL: I am "readily familiar" with the firms practice of collection and processing
            correspondence for mailing. Under that practice it would be deposited with the U.S. Postal service on that
 9          same day with postage thereon fully prepaid in the ordinary course of business. I am aware that on motion
            of the party served, service is presumed invalid if postal cancellation date or postage meter date is more than
10
            one day after date of deposit for mailing in affidavit.
11
     ( )     VIA HAND-DELIVERY: I caused such envelope. to be hand delivered to the stated parties via First
12           Legal Messenger Service.

13   ( X) VIA E-MAIL: Pursuant to agreement, I caused such document to be sent via email to the offices ofthe
            addressees so designated.
14

15           I declare under penalty ofperjury under the laws ofthe State of California that the foregoing
     is true and correct, and that this declaration was executed on March 30, 2016, at Oakland,
16   California
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           Case 3:15-cv-03945-WHO Document 86-1 Filed 04/26/17 Page 25 of 123




                                                 SERVICE LIST ATTACHMENT
                                  Pltiladelphia Indemnity Insllrance Company v. Danco Builders
                         U.S. District Court- Northern Dist. of California Case No. 3:15-cv-03945-WHO
                                                        Our File No. 4976

REPRESENTING:                                 REPRESENTING:
Plaintiffs, Philadelphia Indemnity            Schmidbauer Building Supply
Insurance Company                             Erik S. Faussner, Esq.
Stephen N. Cole, Esq.                         Steven E. McDonald, Esq.
THE COLE LAW FIRM                             BLEDSOE, DIESTEL, TREPPAAND
34 IO Industrial Blvd., Suite 100             CRANELLP
West Sacramento, CA 95691                     601 California Street, I 6th Floor
Tel:    (916) 376-0486                        San Francisco, CA 94105
Fax:    (916) 376-0478                        Tel:     (415) 981-5411
scole@colenetlaw.com                          Fax:     (415) 981-0352
                                              efaussner@bledsoelaw.com
                                              smcdonald@bledsoelaw.com




                                                          Page 1 of 1
Case 3:15-cv-03945-WHO Document 86-1 Filed 04/26/17 Page 26 of 123




          EXHIBIT4
     Case 3:15-cv-03945-WHO Document 86-1 Filed 04/26/17 Page 27 of 123




 1     STEPHEN N. COLE (SB #53319)
       THE COLE LAW FIRM
 2     3410 Industrial Blvd., Suite 100
       West Sacramento, CA 95691
 3     Tel: (916) 376-0486
       Fax: (916) 376-0478
 4
 5     Attorneys for Plaintiff

 6

 7
 8

 9                         IN THE UNITED STATES DISTRICT COURT

10                           NORTHERN DISTRICT OF CALIFORNIA
11
        PHILADELPHIA INDEMNITY                             Case No. 15-cv-03945-WHO
12      INSURANCE COMPANY,
                                                           PLAINTIFF'S RESPONSES TO
13                                        Plaintiff,       DEFENDANT DANCO
                                                           BUILDERS' SPECIAL
14                           v.                            INTERROGATORIES
15      DANCO BUILDERS, DOES I to IO
        Inclusive,
16
                                       Defendants.
17
18
19            Plaintiff PHILADEPHIA fNDEMNITY INSURANCE COMPANY, by and
20     through its attorney of record, Stephen N. Cole responds to DANCO BUILDERS', First
21     Set of Special Interrogatories (NOS 1-18) as follows:
22                                  PRELIMINARY STATEMENT
23     I. Plaintiffs investigation and development of all facts and circumstances relating to this
24     action is ongoing. These responses and objections are made without prejudice to, and are
25     not a waiver of, Plaintiffs right to rely on other facts or documents at trial.
26     2. By making the accompanying responses and objections to Defendant's interrogatories,
27     Plaintiff does not waive, and hereby expressly reserves, its right to assert any and all
28     objections as to the admissibility of such responses into evidence in this action, or in any

                                              PLAINTIFF'S RESPONSES TO SPECIAL INTERROGATORIES
                                                    I                  [CASE NO.: 15-cv-03945-WHO]
     Case 3:15-cv-03945-WHO Document 86-1 Filed 04/26/17 Page 28 of 123




 1     other proceedings, on any and all grounds including, but not limited to, competency,
 2     relevancy, materiality, and privilege. Further, Plaintiff makes the responses and
 3    objections herein without in any way implying that it considers the interrogatories, and
 4     responses to the requests and interrogatory, to be relevant or material to the subject
 5     matter of this action.
 6    3. A response to an interrogatory stating that objections and/or indicating that documents
 7    will be produced shall not be deemed or construed that there are, in fact, responsive
 8    documents, that Plaintiff performed any of the acts described in the interrogatory, or
 g     definitions and/or instructions applicable to the interrogatory, or that Plaintiff acquiesces
1o in the characterization of the conduct or activities contained in the inte1Togatory, or
11    definitions and/or instructions applicable to the interrogatory.
12    4. Plaintiff expressly reserves the right to supplement, clarify, revise, or correct any or a·ll
13    of the responses and objections herein, and to assert additional objections or privileges,
14     in one or more subsequent supplemental response(s).
15    SPECIAL INTERROGATORY NO.-l:
16    Please state all facts that supp011 YOUR allegation in Paragraph 13 of the THIRD
17    AMENDED COMPLAINT that, "On information and belief, DANCO selected and
18    purchased wood plastic composite decking (hereinafter referenced to as "DECKING")
19    from SCHMIDBAUER."
20     RESPONSE TO SPECIAL INTERROGATORY NO. 1:
21     Plaintiff objects to this interrogatory on the grounds that it seeks facts and/or information
22     that are covered by the attorney work product doctrine, the deliberative process
23     privilege, and the attorney-client privilege. Plaintiff further object to the extent this
24     interrogatory seeks facts and/or information protected by Fed. R.Civ.P. 26(b)(3)(A) or
25     seeks the mental impressions, conclusions, opinions, legal research and legal theories of
26    Plaintiff's counsel. Without waiving any objections, Plaintiff responds that PacWest
27     hired Danco Builders to construct the Willow Creek project per the plans and
28     specifications. Danco Builders did not comply with those plans.

                                              PLAINTIFF'S RESPONSES TO SPECIAL INTERROGATORIES
                                                    2                  (CASE NO.: 15-cv-03945-WHO]
      Case 3:15-cv-03945-WHO Document 86-1 Filed 04/26/17 Page 29 of 123




 1      SPECIAL INTERROGATORY NO. 2:
 2      Please IDENTIFY all DOCUMENTS that support YOUR allegation in Paragraph 13 of
 3      the THIRD AMENDED COMPLAINT that, "On information and belief, DANCO
 4      selected and purchased wood plastic composite decking (hereinafter refen·ed to as
 5      "DECKING") from SCHMIDBAUER."
 6      RESPONSE TO SPECIAL INTERROGATORY NO. 2:
 7      Plaintiff objects to this interrogatory on the grounds that it seeks facts and/or information
 8      that are covered by the attorney work product doctrine, the deliberative process
 g      privilege, and the attorney-client privilege. Plaintiff further object to the extent this
10      interrogatory seeks facts and/or information protected by Fed. R.Civ.P. 26(b)(3 )(A) or
11      seeks the mental impressions, conclusions, opinions, legal research and legal theories of
12      Plaintiffs counsel. Without waiving any objections, Plaintiff responds that PacWest
13      hired Danco Builders to construct the Willow Creek project per the plans and
14      specifications. Danco Builders did not comply with those plans.
-15     SPECIAL INTERROGATORY NO. 3: -
16      Please IDENTIFY all PERSON(s) who have knowledge supporting YOUR contention in
17      Paragraph 13 of the THIRD AMENDED COMPLAINT that, "On information and
18      belief, DANCO selected and purchased wood plastic composite decking (hereinafter
19      referred to as "DECKING") from SCHMIDBAUER."
20      RESPONSE TO SPECIAL INTERROGATORY NO. 3:
21      Plaintiff objects to this interrogatory on the grounds that it seeks facts and/or information
22      that are covered by the attorney work product doctrine, the deliberative process
23      privilege, and the attorney-client privilege. Plaintiff further object to the extent this
24      interrogatory seeks facts and/or information protected by Fed. R.Civ.P. 26(b)(3)(A) or
25      seeks the mental impressions, conclusions, opinions, legal research and legal theories of
26      Plaintiffs counsel. Without waiving any objections, Plaintiff responds: Dan Johnson,
27      Eric Roberts, and Pacific West personnel.

28

                                               PLAINTIFF'S RESPONSES TO SPECIAL INTERROGATORIES
                                                     3                  [CASE NO.: 15-cv-03945-WHO]
     Case 3:15-cv-03945-WHO Document 86-1 Filed 04/26/17 Page 30 of 123




 1     SPECIAL INTERROGATORY NO. 4:
 2     Please state all facts that support YOUR allegation in Paragraph 14 of the THIRD
 3     AMENDED        COMPLAINT         that,    "The    DECKING       DANCO      purchased    from
 4     SCHMIDBAUER was not the DECKING Eric Roberts specified for use at WILLOW
 5     CREEK."
 6     RESPONSE TO SPECIAL INTERROGATORY NO. 4:
 7     Plaintiff objects to this interrogatory on the grounds that it seeks facts and/or information
 8     that are covered by the attorney ,vork product doctrine, the deliberative process
 g     privilege, and the attorney-client privilege.     Plaintiff further object to the extent this
1o interrogatory seeks facts and/or information protected by Fed. R.Civ .P. 26(b )(3 )(A) or
11     seeks the mental impressions, conclusions, opinions, legal research and legal theories of
12     Plaintiffs counsel. Without waiving any objections, Plaintiff responds that the plans and
13     specifications speak for themselves.
14     SPECIAL INTERROGATORY NO. 5:
15-    Please IDENTIFY all DOCUMENTS that support-YOUR allegation. in Paragraph 14 of
16     the THIRD AMENDED COMPLAINT that, "The DECKING DANCO purchased from
17     SCHMIDBAUER was not the DECKING Eric Roberts specified for use at WILLOW
18     CREEK."
19     RESPONSE TO SPECIAL INTERROGATORY NO. 5:
20     Plaintiff objects to this interrogatory on the grounds that it seeks facts and/or information
21     that are covered by the attorney work product doctrine, the deliberative process
22     privilege, and the attorney-client privilege.     Plaintiff further object to the extent this
23     interrogatory seeks facts and/or information protected by Fed. R.Civ.P. 26(b)(3)(A) or
24     seeks the mental impressions, conclusions, opinions, legal research and legal theories of
25     Plaintiffs counsel. Without waiving any objections, Plaintiff responds: Dan Johnson's
26     emails and building plans.
27     SPECIAL INTERROGATORY NO. 6:
28     Please IDENTIFY all PERSON(s) who have knowledge supporting YOUR contention

                                                PLAINTIFF'S RESPONSES TO SPECIAL INTERROGATORIES
                                                      4                  [CASE NO.: 15-cv-03945-WHO]
       Case 3:15-cv-03945-WHO Document 86-1 Filed 04/26/17 Page 31 of 123




  1      in Paragraph 14 of the THIRD AMENDED COMPLAINT that, "The DECKING
  2      DANCO purchased from SCHMIDBAUER was not the DECKING Eric Roberts
  3      specified for use at WILLOW CREEK."
  4      RESPONSE TO SPECIAL INTERROGATORY NO. 6:
  5      Plaintiff objects to this interrogatory on the grounds that it seeks facts and/or information
  6      that are covered by the attorney work product doctrine, the deliberative process
  7      privilege, and the attorney-client privilege. Plaintiff further object to the extent this
  a      interrogatory seeks facts and/or information protected by Fed. R.Civ.P. 26(b)(3)(A) or
  g      seeks the mental impressions, conclusions, opinions, legal research and legal theories of
 10      Plaintiff's counsel. Without waiving any objections, Plaintiff responds: Dan Johnson.
 11      SPECIAL INTERROGATORY NO. 7:
 12      Please state all facts that support YOUR allegation in Paragraph 25 of the THIRD
 13      AMENDED COMPLAINT that, "DANCO knew or should have known when
 14      purchasing and installing the DECKING that it was composed of highly combustible
· 15     materials and therefore unsafe, creating an unreasonable risk of injury and harm to
 16      WILLOW CREEK."
 17      RESPONSE TO SPECIAL INTERROGATORY NO. 7:
 18      Plaintiff objects to this Interrogatory on the grounds that it seeks facts that are covered
 19      by the attorney work product doctrine, the deliberative process privilege, and the
 20      attorney-client privilege. Plaintiff further object to the extent this Interrogatory seeks
 21      facts and information protected by Fed. R.Civ.P. 26(b)(3)(A) or seeks the mental
 22      impressions, conclusions, opinions, legal research and legal theories of Plaintiff's
 23      counsel. To the extent this interrogatory calls for information contained in the notes
 24      and/or memoranda prepared by the potential testifying expert, Plaintiff objects to the
 25      interrogatory as premature and expressly reserves the right to supplement, clarify, revise,
 26      or correct any or all responses to the interrogatory, and to assert additional objections or
 27      privileges, in one or more subsequent supplemental response(s) in accordance with the
 28      time period for exchanging expert reports set by the Court.

                                                PLAINTIFF'S RESPONSES TO SPECIAL INTERROGATORIES
                                                      5                  [CASE NO.: 15-cv-03945-WHO]
     Case 3:15-cv-03945-WHO Document 86-1 Filed 04/26/17 Page 32 of 123




 1       SPECIAL INTERROGATORY NO. 8:
 2       Please IDENTIFY all DOCUMENT(s) supporting YOUR contention in Paragraph 25 of
 3       the THIRD AMENDED COMPLAINT that, "DANCO knew or should have known
 4       when purchasing and installing the DECKING that it was composed of highly
 5       combustible materials and therefore unsafe, creating an unreasonable risk of irtjury and
 6       harm to WILLOW CREEK."
 7   i   RESPONSE TO SPECIAL INTERROGATORY NO. 8:
 8 I Plaintiff objects to this Inte1Togatory on the grounds that it seeks facts that are covered
 g       by the attorney work product doctrine, the deliberative process privilege, and the
10       attorney-client privilege. Plaintiff further object to the extent this Interrogatory seeks
11       facts and information protected by Fed. R.Civ.P. 26(b)(3)(A) or seeks the mental
12       impressions, conclusions, opinions, legal research and legal theories of Plaintiffs
13       counsel. To the extent this interrogatory calls for information contained in the notes
14       and/or memoranda prepared by the potential testifying expert, Plaintiff objects to the
15 · -interrogatory as premature and expressly-r-eserves the right to supplement, clarify, revise,
16       or correct any or all responses to the interrogatory, and to assert additional objections or
17       privileges, in one or more subsequent supplemental response(s) in accordance with the
18       time period for exchanging expert reports set by the Court.
19       SPECIAL INTERROGATORY NO. 9:
20       Please IDENTIFY all PERSON(s) who have knowledge supporting YOUR contention in
21       Paragraph 25 of the THIRD AMENDED COMPLAINT that, "DAN CO knew or should
22       have known when purchasing and installing the DECKING that it was composed of
23       highly combustible materials and therefore unsafe, creating an unreasonable risk of
24       injury and harm to WILLOW CREEK."
25       RESPONSE TO SPECIAL INTERROGATORY NO. 9:
26       Plaintiff objects to this Interrogatory on the grounds that it seeks facts that are covered
27       by the attorney work product doctrine, the deliberative process privilege, and the
28 j attorney-client privilege. Plaintiff further object to the extent this Interrogatory seeks

                                                PLAINTIFF'S RESPONSES TO SPECIAL INTERROGATORIES
                                                      6                  [CASE NO.: 15-cv-03945-WHO]
     Case 3:15-cv-03945-WHO Document 86-1 Filed 04/26/17 Page 33 of 123




 1   1   facts and information protected by Fed. R.Civ.P. 26(b)(3)(A) or seeks the mental
 2       impressions, conclusions, opinions, legal research and legal theories of Plaintiffs

 3       counsel. To the extent this interrogatory calls for information contained in the notes
 4       and/or memoranda prepared by the potential testifying expert, Plaintiff objects to the
 5       interrogatory as premature and expressly reserves the right to supplement, clarify, revise,
 6       or correct any or all responses to the interrogatory, and to assert additional objections or
 7       privileges, in one or more subsequent supplemental response(s) in accordance with the
 a       time period for exchanging expert reports set by the Court.
 9       SPECIAL INTERROGATORY NO.10:
1o Please state all facts that support YOUR allegation in Paragraph 26 of the THIRD
11       AMENDED COMPLAINT that, "In 2006, DANCO was negligent in selecting,
12       purchasing and installing DECKING at WILLOW CREEK."
13       RESPONSE TO SPECIAL INTERROGATORY NO. 10:
14       Plaintiff objects to this Interrogatory on the grounds that it seeks facts that are covered
15       by -the attorney work product doctrine, the deliberative process privilege, --and the

16       attorney-client privilege. Plaintiff further object to the extent this Interrogatory seeks
17       facts and information protected by Fed. R.Civ.P. 26(b)(3)(A) or seeks the mental
18       impressions, conclusions, opinions, legal research and legal theories of Plaintiff's
19       counsel. To the extent this interrogatory calls for information contained in the notes
20       and/or memoranda prepared by the potential testifying expert, Plaintiff objects to the
21 ' interrogatory as premature and expressly reserves the right to supplement, clarify, revise,
22       or correct any or all responses to the interrogatory, and to assert additional objections or
23       privileges, in one or more subsequent supplemental response(s) in accordance with the
24       time period for exchanging expert reports set by the Court.
25       SPECIAL INTERROGATORY NO. 11:
26       Please IDENTIFY all DOCUMENT(s) with knowledge supporting YOUR allegation in
27       Paragraph 26 of the THIRD AMENDED COMPLAINT that, "In 2006, DANCO was
28       negligent in selecting, purchasing and installing DECKING at WILLOW CREEK."

                                                PLAINTIFF'S RESPONSES TO SPECIAL INTERROGATORIES
                                                       7                   [CASE NO.: 15-cv-03945-WHO]
      Case 3:15-cv-03945-WHO Document 86-1 Filed 04/26/17 Page 34 of 123




  1     RESPONSE TO SPECIAL INTERROGATORY N0.11:
  2     Plaintiff objects to this Interrogatory on the grounds that it seeks facts that are covered
  3     by the attorney work product doctrine, the deliberative process privilege, and the
  4     attorney-client privilege. Plaintiff fu11her object to the extent this Interrogatory seeks
  5     facts and information protected by Fed. R.Civ.P. 26(b)(3)(A) or seeks the mental
  6     impressions, conclusions, opinions, legal research and legal theories of Plaintiffs
  7     counsel. To the extent this interrogatory calls for infom1ation contained in the notes
  a     and/or memoranda prepared by the potential testifying expert, Plaintiff objects to the
  9     interrogatory as premature and expressly reserves the right to supplement, clarify, revise,
 10     or correct any or all responses to the interrogatory, and to assert additional objections or
 11     privileges, in one or more subsequent supplemental response(s) in accordance with the
 12     time period for exchanging expert reports set by the Court.
 13     SPECIAL INTERROGATORY NO. 12:
 14     Please IDENTIFY all PERSON(s) with knowledge supporting YOUR allegation in
· 15    Paragraph 26- of the THIRD-AMENDED COMPLA1NT that, "In 2006, DANCO was
 16     negligent in selecting, purchasing and installing DECKING at WILLOW CREEK."
 17     RESPONSE TO SPECIAL INTERROGATORY NO. 12:
 18     Plaintiff objects to this Interrogatory on the grounds that it seeks facts that are covered
 19     by the attorney work product doctrine, the deliberative process privilege, and the
 20     attorney-client privilege. Plaintiff further object to the extent this Interrogatory seeks
 21     facts and information protected by Fed. R.Civ.P. 26(b)(3)(A) or seeks the mental

 22     impressions, conclusions, opinions, legal research and legal theories of Plaintiffs
 23     counsel. To the extent this interrogatory calls for information contained in the notes
 24     and/or memoranda prepared by the potential testifying expert, Plaintiff objects to the
 25     interrogatory as premature and expressly reserves the right to supplement, clarify, revise,
 26     or correct any or all responses to the inte1Togatory, and to assert additional objections or
 27     privileges, in one or more subsequent supplemental response(s) in accordance with the
 28     time period for exchanging expert reports set by the Court.

                                              PLAINTIFF'S RESPONSES TO SPECIAL INTERROGATOR[ES
                                                    &                  [CASE NO.: 15-cv-03945-WHO]
     Case 3:15-cv-03945-WHO Document 86-1 Filed 04/26/17 Page 35 of 123




 1     SPECIAL INTERROGATORY NO. 13:
 2     Please state all facts that suppo11 YOUR allegation in Paragraph 27 of the THIRD
 3     AMENDED COMPLAINT that, "On December 16, 2013 a tenant at the WILLOW
 4     CREEK disposed of a cigarette. Rather than self-extinguishing, the fire ignited the deck

 5     and engulfed the second level of apartment 524, Building F, and spread to other portions

 6     of the building, damaging it."
 7     RESPONSE TO SPECIAL INTERROGATORY NO. 13:
 8     Plaintiff objects to this Interrogatory on the grounds that it seeks facts that are covered
 g , by the attorney work product doctrine, the deliberative process privilege, and the

1o     attorney-client privilege. Plaintiff further object to the extent this Interrogatory seeks
11     facts and information protected by Fed. R.Civ.P. 26(b)(3)(A) or seeks the mental

12 - impressions, conclusions, opinions, legal research and legal theories of Plaintiffs
13     counsel. To the extent this interrogatory calls for information contained in the notes
14     and/or memoranda prepared by the potential testifying expert, Plaintiff objects to the
15 - i_nterrogatory-as premature and expressly- reserves the right to supplement, clarify, revise,-
16     52_r correct any or all responses to the interrogatory, and to assert additional objections or

17 . privileges, in one or more subsequent supplemental response(s) in accordance with the

18    _time period for exchanging expert reports set by the Court.

19     SPECIAL INTERROGATORY NO. 14:

20     Please IDENTIFY all DOCUMENT(s) that support YOUR allegation in Paragraph 27 of

21     the THIRD AMENDED COMPLAINT that, "On December 16,2013 a tenant at the

22     WILLOW CREEK disposed of a cigarette. Rather than self-extinguishing, the fire

23     ignited the deck and engulfed the second level of apartment 524, Building F, and spread

24     to other portions of the building, damaging it."

25     RESPONSE TO SPECIAL INTERROGATORY NO. 14:

26     Plaintiff objects to this Inte1Togatory on the grounds that it seeks facts that are covered

27 _ by the attorney work product doctrine, the deliberative process privilege, and the

2a I attorney-client privilege. Plaintiff fmther object to the extent this Inte1Togatory seeks
                                               PLAINTIFF'S RESPONSES TO SPECIAL INTERROGATORIES
                                                     9                  [CASE NO.: 15-cv-03945-WHO]
     Case 3:15-cv-03945-WHO Document 86-1 Filed 04/26/17 Page 36 of 123




 1     facts and information protected by Fed. R.Civ.P. 26(b)(3)(A) or seeks the mental
 2     impressions, conclusions, opinions, legal research and legal theories of Plaintifrs
 3     counsel. To the extent this interrogatory calls for infonnation contained in the notes
 4     and/or memoranda prepared by the potential testifying expert, Plaintiff objects to the
 5     interrogatory as premature and expressly reserves the right to supplement, clarify, revise,
 6     or correct any or all responses to the interrogatory, and to assert additional objections or
 7     privileges, in one or more subsequent supplemental response(s) in accordance with the
 8     time period for exchanging expert reports set by the Court.
 g     SPECIAL INTERROGATORY NO. 15:
10     Please IDENTIFY all PERSON(s) with knowledge supporting YOUR allegation m
11     Paragraph 27 of the THIRD AMENDED COMPLAINT that, "On December 16,2013 a
12     tenant at the WILLOW CREEK disposed of a cigarette. Rather than self-extinguishing,
13     the fire ignited the deck and engulfed the second level of apartment 524, Building F, and
14     spread to other portions of the building, damaging it."
15     RESPONSE TO SPECIAL INTERROGATORY N0.15: . - -
16     Plaintiff objects to this Interrogatory on the grounds that it seeks facts that are covered
17     by the attorney work product doctrine, the deliberative process privilege, and the
18     attorney-client privilege. Plaintiff further object to the extent this Interrogatory seeks
19     facts and information protected by Fed. R.Civ.P. 26(b)(3)(A) or seeks the mental
20     impressions, conclusions, opinions, legal research and legal theories of Plaintiffs
21     counsel. To the extent this interrogatory calls for information contained in the notes
22     and/or memoranda prepared by the potential testifying expert, Plaintiff objects to the
23     interrogatory as premature and expressly reserves the right to supplement, clarify, revise,
24     or correct any or all responses to the interrogatory, and to assert additional objections or
25     privileges, in one or more subsequent supplemental response(s) in accordance with the
26     time period for exchanging expert reports set by the Court.

27
28 I
                                             PLAINTfFF'S RESPONSES TO SPECIAL INTERROGATORIES
                                                   10                 [CASE NO.: 15-cv-03945-WHO]
       Case 3:15-cv-03945-WHO Document 86-1 Filed 04/26/17 Page 37 of 123




  1        SPECIAL INTERROGATORY NO. 16:
  2        Please state all facts that support YOUR allegation in Paragraph 28 of the THIRD
  3        AMENDED COMPLAINT that, "As a proximate result of the (sic) DANCO's
  4        negligence and the damage to the building as herein alleged, the insured was required to,
  5        and did, make payments for repairs to the building. 11
  6        RESPONSE TO SPECIAL INTERROGATORY NO. 16:
  7        Plaintiff objects to this Interrogatory on the grounds that it seeks facts that are covered
  8        by the attorney work product doctrine, the deliberative process privilege, and the
  g        attorney"client privilege. Plaintiff further object to the extent this InteITogatory seeks
 10        facts and information protected by Fed. R.Civ.P. 26(b)(3)(A) or seeks the mental
 11        impressions, conclusions, opinions, legal research and legal theories of Plaintiff's
· 12       counsel. To the extent this interrogatory calls for information contained in the notes
 13        and/or memoranda prepared by the potential testifying expert, Plaintiff objects to the
 14        interrogatory as premature and expressly reserves the right to supplement, clarify, revise,
 '15       or correct any or all responses to the interrogatory, and to assert additional objections or
 16        privileges, in one or more subsequent supplemental response(s) in accordance with the
 17        time period for exchanging expert reports set by the Court.
 18        SPECIAL INTERROGATORY NO.17:
 19        Please IDENTIFY all DOCUMENT(s) that support YOUR allegation in Paragraph 28 of
 20        the THIRD AMENDED COMPLAINT that, "As a proximate result of the (sic)
 21        DANCO's negligence and the damage to the building as herein alleged, the insured was
 22        required to, and did, make payments for repairs to the building."
 23        RESPONSE TO SPECIAL INTERROGATORY NO.17:
 24        Plaintiff objects to this interrogatory on the grounds that it seeks facts and/or information
 25        that are covered by the attorney work product doctrine, the deliberative process
 26        privilege, and the attorney-client privilege.    Plaintiff further object to the extent this
 27        interrogatory seeks facts and/or information protected by Fed. R.Civ.P. 26(b)(3)(A) or
 28 . seeks the mental impressions, conclusions, opinions, legal research and legal theories of
       I



                                                  PLAINTIFF'S RESPONSES TO SPECIAL INTERROGATORIES
                                                        11                 [CASE NO.: 15-cv-03945-WHO]
     Case 3:15-cv-03945-WHO Document 86-1 Filed 04/26/17 Page 38 of 123




 1       Plainti Cf s counsel. Without waiving any objections, Plaintiff states: the insurance policy
 2       and independent adjuster reports.

 3       SPECIAL INTERROGATORY NO. 18:
 4       Please IDENTIFY all PERSON(s) with knowledge supporting YOUR allegation in
 5       Paragraph 28 of the THIRD AMENDED COMPLAINT that, "As a proximate result of
 6       the (sic) DANCO's negligence and the damage to the building as herein alleged, the
 7       insured was required to, and did, make payments for repairs to the building."
 8       RESPONSE TO SPECIAL INTERROGATORY NO. 18:
 g       Plaintiff objects to this interrogatory on the grounds that it seeks facts and/or information
10   t   that arc covered by the attorney work product doctrine, the deliberative process
11 • privilege, and the attorney~client privilege. Plaintiff ti.trther object to the extent this
12       interrogatory seeks protected by Fed. R..Civ.P. 26(b )(3 )(A) or seeks the mental
13       impressions, conclusions, opinions, legal research and legal theories of Plaintiffs
14       counsel. Without waiving any objections, Plaintiff states:          handling and independent
15       adjusters.
16       DATED:April 12,2016                                TI-IE COLE LAW FIRM

17
18                                                  Bv
                                                              tk/
                                                              ',/~'/
19
                                                      . -ST/EPllE~,.....7 " r r ' < - r - r r - - -
                                                            Atfornev D r Plaintiff
20                                                          The,CofeLaw Firm
                                                            3410 Industrial Blvd .. Suite I00
21                                                          West Sacramento. CA 95691
                                                            Tel: (916) 376-0486
22                                                          Fax: (916) 376-0478

23

24

25
26:
27:

28
                                                PLAINTIFF'S RESPONSES TO SPECIAL INTERROGATORIES
                                                       12                     [CASE NO.: 15-cv-03945-WHO]
     Case 3:15-cv-03945-WHO Document 86-1 Filed 04/26/17 Page 39 of 123



                                                            PROOF OF SERVICE
 1
 2                I, KIM BRADLEY, declare:

 3     I am employed in the County of Yolo, State of California; I am over the age of 18, and not a

 4     pat1y to the within action; my business address is 3410 Industrial Blvd., Suite 100, West

 5     Sacramento, CA 95691.

                  On April Z.~, 2016, I served the following document described as:
 6

 7     PLAINTIFF'S RESPONSES TO SPECIAL INTERROGATORIES
 8                On all parties in said cause, addressed as fo1lows:

 9                                                        George D. Yaro11, Jr.
                                                          David Steele
10                                                        YARON & ASSOC/A TES
                                                          1300 Clay St.
11                                                        Suite 800
                                                          Oakland, CA 94612
12
                                                          Steven McD011ald, Esq.
13                                                        Bledsoe, Diestel, Treppa & Crane LLP
                                                          601 Califomia Street Fl 16
14                                                        San Fra11cisco, CA 94108

15        /    BY MAIL. I placed a true and correct copy thereof in a sealed envelope(s) addressed to
       the foregoing. I caused such envelopes with postage thereon fully prepaid to be placed in the
16     United States mail in the County of Yolo.

17                  BY PERSONAL SERVICE. I caused such envelopes to be delivered by hand to the
       -of=fi---1c_e_sof the addressee.
18
                    BY FACSIMILE. I caused such documents to be sent to the address above via the
       """fa_c....,si_m..,..il'e number indicated.
19
20     ___ BY EXPRESS MAIL. I caused such documents to be deposited into a designated
       express mail box for pickup on the date of execution of this declaration.
21        £     BY E-MAIL OR ELECTRONIC SERVICE. Based on agreement of the parties to
       accept service by e-mail or electronic transmission, I caused such documents to the persons
22     listed above. I did not receive, within a reasonable time after transmission any electronic
       message that the transmission was unsuccessful.
23
24                 I am "readily familiar" with this finn's business practice for collection and processing of

25     correspondence for mailing.                   Under that practice it would be deposited with the U.S. Postal

26     Service on that same day in the ordinary course of business. I am aware that on motion of party

27
28
                                                              PLAINTIFF'S RESPONSES TO SPECIAL INTERROGATORIES
                                                                    13                 [CASE NO.: 15-cv-03945-WHO]
 Case 3:15-cv-03945-WHO Document 86-1 Filed 04/26/17 Page 40 of 123




 1       served, service is presumed invalid if postal cancellation date or postage meter date is more than
 2       one (I) day at1er the date of deposit for mailing in affidavit.
 3,              [ declare under penalty of pe1jury, under the laws of the State of California, that the
 4       foregoing is true and correct and that this Declaration was executed at West Sacramento,

 5   !   California on April   1-'1 , 2016.
 6,

                                                        KIM BRADLEY




10

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19 '

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28,

                                                   PLAINTIFF'S RESPONSES TO SPECIAL INTERROGATORIES
                                                         14                 [CASE NO.: 15-cv-03945-\VHO]
Case 3:15-cv-03945-WHO Document 86-1 Filed 04/26/17 Page 41 of 123
     Case 3:15-cv-03945-WHO Document 86-1 Filed 04/26/17 Page 42 of 123




 1    THE COLE LAW FIRM
      STEPHEN N. COLE (SB #53319)
 2    3410 Industrial Blvd., Suite 100
      West Sacramento, CA 95691
 3    Telephone: (916) 376-0486
      Facsimile:    (916) 376-0478
 4
      At1omeys for Plaintiff
 5    Philadelphia Indemnity Insurance Company
 6

 7

 8                             UNITED STATES DISTRICT COURT
 9                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
10
       PHILADELPHIA INDEMNITY                         Case No. 15-cv-03945-WHO
11     INSURANCE COMPANY,
                                                      EXPERT WITNESS
12                                    Plaintiff,      DISCLOSURE
13                        v.
14     DANCO BUILDERS, DOES 1 to 10
       Inclusive,
15
                                    Defendants.
16

17    I.    QUALIFICATIONS
18          I, Jeff Hughes, am a Construction Manager with the Construction Consulting,
19    Management, Safety & Engineering firm WEXCO International Corporation. A copy of
20    my resume is attached as Exhibit A. In the course of my professional practice, I am a

21    construction manager and general contractor in the State of California and possess a
22    general conlractor B license. I have been working in the construction industry since
23    1987 as a designer, professional construction estimator, supervisor and project manager
24    of construction projects.   I am a Ce1iified by the International Code Council as a
25    Building Inspector in the state of California. I am a Certified, through the American
26    Society of Professional Estimators (ASPE), as a Professional Construction Estimator. 1
27    am Cal OSHA 10 and CalOSHA 30 construction safety certified. In addition, I have
28                                                       EXPERT WITNESS DISCLOSURE- PAGE I

                                                                    [CASE NO.: 15-cv-03945-WI-IO]
     Case 3:15-cv-03945-WHO Document 86-1 Filed 04/26/17 Page 43 of 123




 1           2)..! he decking, siding, moisture barrier, soffit, attic draft stop did not comply
 2    with the plans, specifications or contract, where the most restrictive material is to be
 3    µsed in the event of an inconsistency or conflict where no RFI is administered by
 4    DANCO. In these critical materials, DANCO failed to comply with the standard of care
 5    of the industry to issue an RFI to the Architect or Engineer and failed in installing the
 6    most restrictive material.
 7           3) The construction of the second floor decks by defendant DANCO and/or his
 8    subcontractor did not conform with the approved Architectural Plans, Sections and
 9    Details within generally accepted construction standards based on the information
10    available to the defendant prior to, and during, construction.
11           4) The construction of the second floor decks by defendant DANCO and/or his
12    subcontractor did not conform with the Industry Standards and/or Standard of Care
13    based on the information available to the defendant prior to, and during, construction.
14    The 1997 Urban-Wildland Interface Code dictates guidelines for safe building materials
15    to be used in an Urban-Wildland area.        Section 504.7 Appendages and Projections
16    (including siding, soffits and decks), requires a minimum of one-hour-rated fire resistive
17    construction ... or approved non-combustible materials.          The exterior siding did not
18    comply with safe building practices, nor the 1997 Urban-Wildland Interface Code nor
19    the 2000 Urban-Wildland Interface Code nor the 2003 Urban-Wildland Interface Code.
20           5)   The Structural Plans and the Architectural Plans had, in their designs,
21    inconsistent balcony decking materials and/or construction details (i.e. open Vinyl
22    Decking v. solid Concrete Decking), DANCO knew, or should have known of the
23    inconsistency during the bidding phase (prior to construction), during the submittal
24    process and/or throughout the construction process .
25                  .l) Per the Contract (between DANCO and the Owner), Section 3.2
26           Review of Contract Documents and Field Conditions by Contractor, subsection
27           .1, the contractor had a duty to report the inconsistency to the Architect promptly
28                                                           EXPERT WITNESS DISCLOSURE - PAGE 7

                                                                          [CASE NO.: I 5-cv-03945-WHO]
     Case 3:15-cv-03945-WHO Document 86-1 Filed 04/26/17 Page 44 of 123




 1'            AHJ's passmg a particular inspection does not relieve the contractor from
 2             complying with the building code.         Furthermore, the construction contract
 3             obligates DANCO to follow the plans and specifications. Dan Johnson, at his
 4             deposition, affirmed that obligation. (See 200 I CA Building Code, Chapter I -
 5             Administration, Section 104 - Organization and Enforcement, subsection 2
 6             Powers and Duties of Building Official and sub-subsection 6 Liability. This code
 7             shall not be construed to relieve from or lessen the responsibility of any person
 8             owning, operating or controlling any building or structure for any damages to
 9             persons or property caused by defects, nor shall the code enforcement agency or
10             its parent jurisdiction be held as assuming any such liability by reason of the
11             inspections authorized by this code or any permits or certificates issued under this
12             code.
13

14    VI.      COMPENSATION
15             WEXCO has incurred $19,400 for services rendered through the date of this
16    report to the attorneys representing Plaintiff. Billings for future services, including
17    testifying at deposition and trial, will be at $300 per hour.
18

19    Dated:    IC/-c."1/ I(;,,
20
21

22
23    Dated:~
24
                                                                 Ste en N. Cole, Attorney for
25                                                               Pia ntiff, Philadelphia Indemnity
                                                                 Insurance Company
26
27
28                                                           EXPERT WITNESS DISCLOSURE - PAGE 27

                                                                         [CASE NO.: 15-cv-03945-WHO]
Case 3:15-cv-03945-WHO Document 86-1 Filed 04/26/17 Page 45 of 123




         EXHIBIT 6
     Case 3:15-cv-03945-WHO Document 86-1 Filed 04/26/17 Page 46 of 123

                      Larry Pelton, CFEI, Volume I 8/19/2016


 1                      UNITED STATES DISTRICT COURT

 2                    NORTHERN DISTRICT OF CALIFORNIA

 3

 4      PHILADELPHIA INDEMNITY              ) Case No. 15-cv-03945 WHO
        INSURANCE COMPANY,                  )
 5                                          )
                    Plaintiff,              )
 6                                          )
             v.                             )           CERTIFIED COPY
 7                                          )
       DANCO BUILDERS, DOES 1 to            )
 8     10, inclusive,                       )
                                            )
 9
       _______________
             Defendants.                    )
                                            )
10

11

12

13

14                DEPOSITION OF LARRY PELTON, CFEI, Volume I

15

16                           Friday, August 19, 2016

17

18

19

20     REPORTED BY:      BEVERLY HEDBERG, CCRR, CSR No. 4256

21

22

23
                                                    Founloingrove Corporate Centre
24                       redwood                    3510 Unocal Place, Suite l l 5
                                                    Santo Rosa, CA 95403

25                       reporting                  800.368.6833 I 707.526.2708
                                                    redwoodreporling.com


                                                                                     1
           REDWOOD REPORTING     I   800-368-6833   I   RedwoodReporting.com
  Case 3:15-cv-03945-WHO Document 86-1 Filed 04/26/17 Page 47 of 123

                        Larry Pelton; CFEI, Volume I 8/19/2016



  1                .At Redwood Reporting & Videocqnf·e renci,ng, 35 .l O

 2    Unocal Plac.E:!, Suite 115, Santa Rosa California, on

  3   Friday, August 19, 2016, commencing at the hour of 9:03

  4   a.m. thereof, before ..Beverly A ,. Hedberg, a Certified

 5    Sho:tthan.d Reporter, there personally app~_cl_:i;:-eq

 6                              LARRY PEL.T ON, CFE:t

 7    for said deposition.

 8

 9

10    BY MR. STEELE.:
11          Q.     G·ood morning, sir.            Can you state and spell

12    you·r name for the record.

13          A ..   Larry -~ dw.a;rc:;J: Pelton.     )?elt.o n is P-e-1·- t-\o-n.·

                   MR. STEELE:          And l ·et' s mark as Exhibit 1 t:h.(:!

15    notice 0£ the deposition.

i6                 .(Deposition Exhibit .1 was marked .f or

17    identifi~ati0n.}

18    BY MR, STE~LE~
'19                Mr.. 'P e,l ton, I ''in showing    :you   Exhibit 1, which

20    is :!::he second. ~eIJ.dE:!P. :q.ot;i.ce qf the pepo:sition.        Do you



.22         A.     Yes.

23                 Do   you understand that you' re being produc.ed.
24    as a Rule 30{b) (6) witness for the pl.a ±ntiff,

25    Philadelphia Indemnity Insurance Company?

                                                                                    5
         REDWOOD REPORTING        I   800-368-6.833, I Redw.oodReporting.com
    Case 3:15-cv-03945-WHO Document 86-1 Filed 04/26/17 Page 48 of 123


                             Larry Pelton, CFEI, Volum~ I 8/,19/2016


    l             A.,_.    Yes, I d,o.

                  Q.       Have you reviewed E~hib.i,t 1 prior to today?

   3              A.       Yes.

    4             Q.       Okay.     Have you produced documents responsive

   5     to the .request in Exhibit 1?

    6                      Yes.

    7                      MR.    COLE:    Obj·ection.         We h _a d discussed

    8.   previously. ·the purpose: of Mr. Pelton' s de;Position.                          He's

         not being proffered              as   a 30(b}(6} witness in each            of    the

         categories; solely in the origirt, caus:e and spread of.

 ll      the fire.

 12                        MR. $TEELE:          rs there someone       else   who .i :s

 13      gqin.g to be pro-{ferE?d              ±n    the categori_es th,~t he's not?

 14                        MR. COLE:       Correct.

 15                        MR. STEELE:         Who is that?

 16                        MR., COLE-:     w.e11, each category, I.' 11 .have to·

 ;i, 7   take a _look at.            I mean, it could be one or more people.

 18      You asked f oz-, for exampl~, of copy of the _insurance

. 19     po;I.:i~cy·.     You a,s.ked for      c3,   qopy of the payment schedule,,

 20      et .cetera, et cetera.                So     I'm   not foreclosins- you from

 21-     deposing additional 3D{b) (6)· witnesses in the areas in

 22.     which Mr. Pelton is not being deposed.

 23      ~y MR. STEELE:_

 24              Q.        All right.       W]:l~t have you broµght to this

 25      deposition today, Mr. Pelton?


              REDWOOD REPORTING           I ·so0-368-6833 I    RedwoodReporting-.com
     Case 3:15-cv-03945-WHO Document 86-1 Filed 04/26/17 Page 49 of 123


                        Larry Pelton, CFEI, Volume I 8/19/2016


     1   box, in your opinion, on a more-likely-than-not basis,

     2   correct?

     3        A.     Yes.

     4        Q.     All right.        And after this conversation with

     5   Nancy Cheatham and formulating your opinions and

     6   continuing your investigation, you made the tentative

     7   conclusion that the Christmas lights were not the source

     8   of ignition, correct?

     9        A.     Correct.

    10        Q.     Was there a third fuel after the cardboard

    11   box, in your opinion?

    12        A.     Yes .

(   13        Q.     What was that?

    14        A.     The decking material.

    15        Q.     What 1 s your basis for that?

    16        A.     Because of the large area of burning; the

    17   amount of melting to it.             Eventually, the testing that

    18   was done on the plastic composite-type decking.

    19        Q.     Why wasn 1 t the     -   - what was the siding made out

    20   of on the north wall where the cardboard box and p aper
         •
    21   bag were?

    22        A.     It was vinyl siding over the to~ of OSB strand

    23   board.

    24        Q.     Was there damage to the vinyl siding on

    25   Ap artment F that y ou saw?

                                                                               66
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     Case 3:15-cv-03945-WHO Document 86-1 Filed 04/26/17 Page 50 of 123


                         Larry Pelton, CFEI, Volume I 8/19/2016



     1            A.   Yes.

     2            Q.   Why wasn't the vinyl siding the third fuel

     3   source?

     4            A.   Well, as I said before, I don't know for sure

     5   how much heating the cardboard box did.                    There's no way

     6   of knowing.      Since the p lastic was melted away in that

     7   area , I don't know if that would have been the third
                                                                                  ---..
     8   fuel source or the fourth fuel source.                    It was somewhere

     9   involved in that sequence close in time, p robabl y , to

    10   the time the deck boards would have went up.

    11            Q.   So to be clear , y ou're not sure if the deck

    12   was the third fuel source.             It could have been the
(
\   13   siding, correct?

    14            A.   It could have been the siding.                I just know

    15   ~hat the siding is a viny l siding , and I don't believe

    16   from the patterns on there that it burns at as high a

    17   heat rate, obviously, as the decking does.                    I just don't

    18   know the sequence of that.            And then eventually you had

    19   p sB    siding that ignited.

    20            Q.   Okay.   At what point in the progress of the

    21   fire that you're describing did the transition to flame

    22   occur?

    23            A.   It would have been when the cigarette                        the

    24   smoldering cigarette ignited the light combustibles

    25   inside the trash bag.            That's when it would have went to

                                                                                          67
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               Case 3:15-cv-03945-WHO Document 86-1 Filed 04/26/17 Page 51 of 123


                                   Larry Pelton, CFEI, Volume I 8/19/2016


               1                         REPORTER'S CERTIFICATE

               2         I, BEVERLY A. HEDBERG, a Certified Shorthand

               3   Reporter, licensed in the State of California, License

               4   No. 4256, hereby certify that the deponent was by me

               5   first duly sworn, and the foregoing testimony was

               6   reported by me and was thereafter transcribed with

               7   computer-aided transcription; that the foregoing is a

               8   full, complete, and true record of said proceedings.

               9         I further certify that I am not of counsel or

              10   attorney for either of the parties in the foregoing

              11   proceeding and caption named or in any way interested in

              12   the outcome of the cause in said caption.

              13         The dismantling, unsealing, or unbinding of the

              14   original transcript will render the reporter's

              15   certificates null and void.

              16         In witness whereof, I have hereunto set my hand

              17   this day:

              18         [X] Reading and Signing was requested.
              19         [-]    Reading and Signing was waived.

              20         [ ]    Reading and signing was not requested.

              21   DATED:      August 26, 2016

              22

              23                                        ···    ~
                                                              ..

              24
.,...______
              25                          Beverly A. Hedberg, CCRR, CSR #4256

                                                                                           120
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 Case 3:15-cv-03945-WHO Document 86-1 Filed 04/26/17 Page 52 of 123


                    Larry Pelton, CFEI, Volume I 8/19/2016


 1

 2
     August 26, 2016
 3


 4   Larry Pelton, CFEI
     P.O. Box 2826
 5   Rohnert Park, California 94927

 6   RE: Philadelphia Indemnity Insurance Company vs. Danco
     Builders
 7
     Dear Mr. Pelton:
 8
     Notice is hereby given that the original transcript of
 9   your deposition, taken August 19, 2016, is available for
     your reading, correcting and signing. This review is
10   not mandatory.

11   Pursuant to CCP 2025.520, for 30 days following the date
     of this notice you may change the form or substance of
12   an answer to any question. You may make changes to the
     original transcript at our office or a certified copy if
13   permitted by the code.

14   Forward any changes and/or signature to our office.
     Upon receipt, we will include such in the original
15   transcript as well as notify all counsel.

16   Please telephone this office for an appointment if you
     desire to review the original transcript.
17

18   Sincerely,

19

20

21

22   Cc:     Counsel of record

23               REDWOOD REPORTING & VIDEOCONFERENCING
                      3510 Unocal Place, Suite 115
24                        Santa Rosa, CA 95403
                   E-MAIL: depos@redwoodreporting.com
25                           (800) 368-6833

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Case 3:15-cv-03945-WHO Document 86-1 Filed 04/26/17 Page 53 of 123




         EXHIBIT 7
 Case 3:15-cv-03945-WHO Document 86-1 Filed 04/26/17 Page 54 of 123


JEFF HUGHES                                                January 10, 2017
PHILADELPHIA INDEMNITY INS vs DANCO BUILDERS                              1




                    UNITED STATES DISTRICT COURT

                   NORTHERN DISTRICT OF CALIFORNIA

                               --000--

 PHILADELPHIA INDEMNITY
 INSURANCE COMPANY,

                          Plaintiff,        )Case No.
                                            )3:15-cv-03945-WHO
             vs.                            )
                                            )
 DANCO BUILDERS, DOES 1 to 10               )
 Inclusive,                                 )
                                            )
                          Defendants.       )
                                            )
---------------------



                        EXPERT DEPOSITION OF

                             JEFF HUGHES



                          January 10,    2017

                              8:54 a.m.



                     1300 Clay Street,    Suite 800

                         Oakland,   California




 Reported by:       Michelle L. Archuletta,      CSR No.   11028


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      JEFF HUGHES                                             January 10, 2017
      PHILADELPHIA INDEMNITY INS vs DANCO BUILDERS                          37

 1         A.     Yes.
 2         Q.     All right.     It says "Code references."
 3                Do you see that?
 4         A.     Yes.
 5         Q.     First item marked is California Building Code,
 6     correct?
 7         A.     Correct.
 8         Q.     Then there's the California Plumbing Code, and
 9     the California Mechanical Code, and then there is the
10    California Electrical Code, right?
11         A.     Correct.
12         Q.     And do you see anywhere that the design
13     c::_r iteria in Exhibit 8 includes WUI, W-U-I, code or
14     specifications?
15         A.     No.
16         Q.     And is that true throughout the entire full set
17    of plans, as you sit here now?         Do you know if anywhere
18     in the architectural plans for Willow Creek there was a
19    mention that the apartment complex should be built with
-20    the WUI standards as a design criteria?
21         A.     It doesn't specifically refer to the WUI.
22         Q.     The plans don't refer to the WUI, correct?
23         A.     Correct.     Not explicitly.
24         Q.     Okay.   And do you have any evidence that the --
25     the architect for the Willow Creek Apartments was a man

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          JEFF HUGHES                                             January 10, 2017
          PHILADELPHIA INDEMNITY INS vs DANCO BUILDERS                          81

      1   BY MR. STEELE:
      2        Q.     Mr. Hughes, I'm showing you Exhibit 10, and
      3    this is a document produced by the plaintiff.            It's a
      4    from QAI Laboratories.      It's dated July 13th, 2016.
      5               Do you see that?
      6        A.     Yes.
      7        Q.     I couldn't tell if this was part of your file.
      8   My initial thought that it was not, but I don't know.
      9               Do you know if you've seen this document
     10   before?
     11        A.     I don't believe it's referred to in my
     12    Information Reviewed file.
     13        Q.     So, hypothetically, if the green deck was
     14    sampled by QAI Laboratories and was tested and reported
     15    to have a flame spread of 150, that would meet the
     16    classification of a Class C for decking, correct?
     17        A.     I believe so.
     18        Q.     All right.
     19        A.     It's certainly high.
     20        Q.     I didn't ask that, but that's fine.
     21               At the time that Willow Creek Apartments was
     22    being constructed, the California Building Code
     23    permitted a deck to have a Class C classification,
     24    correct?
     25        A.     I would have to look at the code to see that.


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      Case 3:15-cv-03945-WHO Document 86-1 Filed 04/26/17 Page 57 of 123


     JEFF HUGHES                                                       January 10, 2017
     PHILADELPHIA INDEMNITY INS vs DANCO BUILDERS                                    82

 1              Q.    You don't know one way or the other as you sit
 2   here?
 3              A.    I'd have to look at the code.
 4
          "'-
                Q.    That's fine.     But please answer my question.
 5   As you sit here without looking at the code, you don't
     .L



 6   ~now one way or the other whether the Class C
 7    classification for a deck satisfied the California
 8   Building Code at the time that this apartment complex
 9   was built, correct?
10              A.    As I sit here right now without looking at the
11    code, I don't recall.
12              Q.    Okay.   Now, the plans didn't -- the
13    architectural plans did not call for a redwood deck
14    anywhere I cdrre:_c t ?-
15              A.    Correct.
                                                        .   ~~ -




16              Q.    And the architectural plans did not call for a
17    Douglas-fir deck anywhere, correct?
18              A.    As a finished product, correct.
19              _Q.   All right.     And you don't know whether the
20    green deck has a similar classification for flame spread
21    as the Ultra Guard vinyl deck noted in the plans,
22    correct?
23              A.    As I sit here, I don't.
24              Q.    All right.     Continuing with your expert report.
25    We don't have a page number, but it's No. 3 under

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           JEFF HUGHES                                             January 10, 2017
           PHILADELPHIA INDEMNITY INS vs DANCO BUILDERS                           92

 1         until it's adopted by a particular jurisdiction, right?
      I;

 2          Force of law,·- that' s the emphasis.
"'3
 ~
                A.     That's my understanding.
 4              Q.     Okay.   So, and if you go to the page        5   of this
 5         document, it says about the International Fire Code
 6          Institute, that looks like the entity that publishes the
 7         WUI standard, right?
 8              ,A.    That published · it', '¥es.
 9              Q.     Okay.   And it's a not-for-profit public service
10         benefit corporation dedicated to public safety, true?
11              A.     Correct.
12              Q.     So it's an organization that says we are very
13         . smart and we have studied the issue of fires
14          internationally and here's what we think is a very good
15         model code for various places around the globe to adopt,
'16        and that will reduce fire damages and hazards in our
17         op inion.    I've g iven you a lay description.
18                     Is that fair of what the International Fire
19          ~ode Institute is doing with respect to the WUI?
20              A.     I .think so.
21              Q.     Okay.   If you look on -- if you go to page 9,
22          it says, "Codes and Related Publications," right?
23              A.     Correct.
24              Q.     And it says, "The International Conference of
25         Building Officials (ICBO) publishes a family of codes,

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          Case 3:15-cv-03945-WHO Document 86-1 Filed 04/26/17 Page 59 of 123


         JEFF HUGHES                                              January 10, 2017
         PHILADELPHIA INDEMNITY INS vs DANCO BUILDERS                          95

 1        the WUI, although it's not codified, applies .
 2            Q.     That's -- the last part of your answer gets us
 3       at least closer, all right?        I understand you're
 4       claiming, Mr. Hughes, that the WUI standard applies,
 5       right?     That is clearly in your expert report.           I'm
 6       asking whether it was codified in California at the time
 7       that this deck was installed at the Willow Creek
 8       apartment complex.       The answer is no, correct?
 9            A.     The document itself, no.       Period.
10            Q.    What document?
11            A.     The WUI code itself was not codified until .
12       2008.
13            Q.     Okay.   After this Willow Creek apartment
14       complex was built and after the green deck was
15       installed, correct?
16            A.     It would appear so from the records.
17..         . Q.   Okay.    Thank you .
     !
18                  MR. COLE:     Can we take a biologic break?
19                  MR. STEELE:     Of course, we can.
20                    (Recess.)
21       BY MR. STEELE:
22            Q.    Do you hold the architect in this case
23       responsible for adhering to the WUI standard for
24       designing the Willow Creek apartment complex?
25            A.     To a certain degree, yes.


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      Case 3:15-cv-03945-WHO Document 86-1 Filed 04/26/17 Page 60 of 123


     JEFF HUGHES                                             January 10, 2017
     PHILADELPHIA INDEMNITY INS vs DANCO BUILDERS                          96

 1        Q.      To what degree?
 2        A.      Well, they're the ones that designed the
 3   project.
 4        Q.      Right.
 5        A.      And so they are the ones that are tasked with
 6   putting the design together and selecting materials of
 7   construction, and in this case we do see a conflict.
 8   The architect did select concrete and he also selected a
 9    PVC deck.
10        Q.      Okay.    We're not -- I appreciate that, but I'm
11   not going into the conflict.         We've already talked about
12   that.
13                But back to the original question.        The
14   architect could have, in your opinion, designed the
15   .w illow Creek Apartments to meet this higher WUI standard
16   that you have articulated since the Willow Creek
17   Ap artments are in this SRA and rural area, correct?
18        A.      Correct.
19        Q.      Okay .   The architect did not, to your
20   .knowledge, do that, correct?
21        A.      In some cases they did.      Again, the concrete
                                                               ___,

22   deck is indicated in the architectural and structural
23   p lans.
24        Q.      In some places there are areas that, by
25   happenstance, coincide with your version of the WUI

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     JEFF HUGHES                                              January 10, 2017
     PHILADELPHIA INDEMNITY INS vs DANCO BUILDERS                           97

 1    standard; but there isn't any definitive statement
 2    anywhere, in this case, that the architect said, "Here
 3    is the WUI standard that we have to meet.            We're going
 4    to use higher-rated fire materials on 25 extra things,"
 5    right?
 6          A.   There's -- correct.
 7          Q.   All right.     For example, fire sprinklers, were
 8    those required to be on the ceiling above the green
 9    deck?
10          A.   I don't know as I sit here.
11          Q.   Do you know if there were fire sprinklers on
12    the ceiling above the green de ck?
     "'-,

13          A.   I don't believe so.
14          Q.   You believe there were not fire sprinklers,
15   .right?
16          A.   Correct.
17          Q.   So if we pore through the pages of the various
18    WUI codes and other codes there might be something
19    somewhere that says in a rural place you ought to have
20    an extra set of fire sprinklers, right?
21          A.   I don't know.
22          Q.   You don't know, okay.       And in your expert
23    report, you do not fault the architect for not adhering
24    explicitly and expressly to your version of the WUI
25    standard in constructing this Willow Creek apartment

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      Case 3:15-cv-03945-WHO Document 86-1 Filed 04/26/17 Page 62 of 123


     JEFF HUGHES                                             January 10, 2017
     PHILADELPHIA INDEMNITY INS vs DANCO BUILDERS                         173

 l                          CERTIFICATE OF REPORTER

 2                 I, MICHELLE L. ARCHULETTA, a Shorthand

 3   Reporter, State of California, do hereby certify that

 4    the witness in the foregoing deposition was present and

 5   by me sworn as a witness in the above-entitled action at

 6   the time and place therein specified;

 7                 That said deposition was taken before me at

 8   said time and place, and was taken down in shorthand by

 9   me, a Certified Shorthand Reporter of the State of

10   California, and was thereafter transcribed into

11   typewriting, and that the foregoing transcript

12   constitutes a full, true, and correct report of said

13   deposition and of the proceedings that took place;

14                 That before completion of the proceedings,

15   the witness has requested review pursuant to Rule

16   30 (e) (2).

17

18                 IN WITNESS WHEREOF,    I have subscribed my name.

19

20                 DATED:   January 20, 2017.

21

22
                                      MICHELLE L. ARCHULETTA
23                                    CSR No. 11028

24

25



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      Case 3:15-cv-03945-WHO Document 86-1 Filed 04/26/17 Page 63 of 123


     JEFF HUGHES                                             January 10, 2017
     PHILADELPHIA INDEMNITY INS vs DANCO BUILDERS                         174

 1                          DEPOSITION ERRATA SHEET
 2

 3   Job No. J0499701
 4   Philadelphia Indemnity Insurance
 5   vs.
 6   Danco Builders
 7

 8               DECLARATION UNDER PENALTY OF PERJURY
 9         I declare under penalty of perjury that I have read
10   the entire transcript of my Deposition taken in the
11   captioned matter or the same has been read to me, and
12   the same is true and accurate, save and except for
13   changes and/or corrections, if any, as indicated by me
14   on the DEPOSITION ERRATA SHEET hereof, with the
15   understanding that I offer these changes as if still
16   under oath.
17          Signed on the             day of
18   20
19
20
21                               JEFF HUGHES
22

23
24
25


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        Case 3:15-cv-03945-WHO Document 86-1 Filed 04/26/17 Page 64 of 123




               .~EXHIBIT 8




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               Case 3:15-cv-03945-WHO Document 86-1 Filed 04/26/17 Page 65 of 123




==.::::::::.:;.:--= GENERAL CONTRACTORS
  ...:?~ CONSTRUCTION CONSULTANTS


                                 PHILADELPHIA INDEMNITY v. DANCO BUILDERS
                                         United States District Court,
                                             Northern California
                                         Case No. 14-cv-03945-WHO


           1. INTRODUCTION:
       I am Patrick E. Kelley and the author of this report and commentary. I am a graduate of Stanford
       University. I received a Bachelor of Science degree and a Master of Science degree in Civil
       Engineering in 1972 from Stanford. I also earned a Master of Business Administration degree from
       the Stanford Graduate School of Business in 1974. I am a licensed general contractor in the state
       of California (classifications held: A Engineering Contractor and B General Building Contractor). I
       have worked full time in the construction industry since 1974. I am currently president and owner
       of Les Kelley, Inc., a general contracting and construction consulting finn located in Belmont,
       California. Since 1988 , I have qualified as an expert in the field of construction/civil engineering in
       at least 30 trials and more than 200 depositions, in both state and federal court. Attached as
       Exhibit 1 is my current CV and fee schedule. Attached as Exhibit 2 is a list of my prior trial and
       deposition testimony of the past 5 years. I am a member of the American Society of Civil
       Engineers and the Associated General Contractors.

       I have not authored any publications in the past 5 years.


       My work experience in the construction industry includes work as a laborer, apprentice,
       carpenter, foreman, project manager, vice president and president of my firm. Some of the
       projects my firm has constructed include the following:

           •    Redwood City, California Post Office
           •    Belmont, California Post Office
           •    Brisbane, California Fire Department Headquarters Building
           •    747 Tenninal (Pier F) San Francisco International Airport
           •    San Mateo, California Public Library
           •    Remodel of Mudd Chemistry Building, Stanford University
           •    Remodel of Physics Building, Stanford University
           •    MRI Center, University of California, San Francisco
           •    MRI Center, Mills-Peninsula Hospitals
           •    MRI Center, Stanford University

       ln addition to the above work, my finn has constructed single family residences, multi-family
       residences and has extensive experience in the repair and re-construction of fire and water
       damaged buildings.

       My assignment was to determine what role, if any, Danco Builder's actions or inactions caused or
       contributed to the fire on December 16, 2013 to the Willow Creek Apartments and whether Danco


503 Dale View Ave.
Post Office Box 340
Belmont, CA 94002
650.591.2624
Fax 650.591.2689
              Case 3:15-cv-03945-WHO Document 86-1 Filed 04/26/17 Page 66 of 123



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        acted as a reasonable general contractor within the applicable standard of care. t have prepared
        this report in accordance with Rule 26(a}(2), of the Federal Rules of Civil Procedure. The opinions
        and conclusions and bases for my opinions and conclusions expressed below are made on a
        more likely than not basis, to a reasonable degree of certainty in the field of constructic>n and
        engineering. As expressed below, in my opinion, Danco Builders did not act negligently as its
        actions and in actions did not fall below the standard of care for general contractors in offering
        the Procell (or equivalent) decking as an alternate to the Ultra Guard product and having it
        approved by the building official for use in the project, principally because its fire spread in9ex
        was Class "C" and met the standards in force at the time.



              2. BACKGROUND:

        Danco Build1ns, a licensed California general contractor (California license number 500851), was
        retained as the general contractor to construct a twenty-four unit apartment complex in Willow
        Creek, California known as the Willow Creek Apartments. The construction of the apartment
        complex took place in the 2006-2007 time period. Subsequent to the completion of the project, in
        2013 there was a fire at the Willow Creek Apartments that involved a number of the apartment
        units as well as an exterior deck. The Plaintiff in this action is alleging that the composite decking
        product that was used on the project did not conform to the approved project drawings or to the
        applicable building code in force at the time and that the decking had an unacceptable flame
        spread rating that contributed to the over-all damage to the complex.

              3. SCOPE OF ASSIGNMENT:

        My assignment was to determine what role, if any, Danco Builder's actions or inactions caused or
        contributed to the fire on December 16, 2013 to the Willow Creek Apartments and whether Danco
        acted as a reasonable general contractor within the applicable standard of care.



              4. DOCUMENTS REVIEWED:

                •    2001 California Building Code
                0    2007 Califomia Building Code
                •    2013 California Building Code
                0    Project Drawings (may not be a complete set)
                •    Procell ESR 1667 Report dated December 1, 2006
                •    ASTM E 84 testing protocol
                •    Various fire tests conducted on behalf of the Plaintiff
                •    APA Technical Bulletin TT-0108
                •    Approved Procell decking submittal dated September 26, 2006
                •    Danco Job File
                •    Deposition Transcripts of Richard Joseph and Cory Hicks
                 •   Fire Investigation Report, December 2013 by Cory Hicks
                •    MEI Report
                •    WEXCO Notes

              5. OPINIONS AND OBSERVATIONS:
                       Case 3:15-cv-03945-WHO Document 86-1 Filed 04/26/17 Page 67 of 123



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               Approved Plans: The project drawings were submitted and approved by the Humboldt County,
               Building Inspection Department. On the approved plans is the following information regarding the
               vinyl decking product:

                        "Ultra Gu~rd vinyl decking system to conform to ASTM D 3679, CGS3 (3-GP-24 Ma), CCMC
                        Report No. 06405, ICBO Report No. 3887, BOCA Report No. 90-60."

               The Ultra Guard decking system was manufactured by Associated Material Inc. AMI no longer
               makes the vinyl decking system but continues to market a vinyl railing and fencing systems under
               the Ultra Guard name.

               Section 106.4.1 Issuance of the 2001 CBC reads in part "When the building official issues a permit
               where plans are required, the building official shall endorse the plans and specifications
               APPROVED. Suc;h approved plans and specifications shall not be changed, modifies or altered
               without authorization from the building official, and all work regulated by this code shall be done
               in accordance with the approved plans." Therefore, unless the plans and specifications were
               "changed, modified or altered" with the permission of the building official, the requirement to use
               the Ultra Guard decking system was mandatory.

               Substitution of Decking Material: It is clear that at some point, the request was made to substitute
               the Procell vinyl decking system for the Ultra Guard decking system specified in the project
               drawings and specifications. Custom and practice in the industry is for the general contractor to
               submit to the architect of record the proposed substitution. The architect then reviews the
               requested substitution and either approves the substitution as meeting the design intent or
               rejects it. Once approved, the substituted item becomes part of the project drawings and
               specifications.

               Procell Decking: The Product: The Procell decking system was manufactured by Procell Decking
               Inc. in Foley, Alabama. The company was founded in 2004. Procell was purchased by Azek Deck
               sometime in 2007 and the Procell decking system was absorbed into the Azek company brand.
               The decking system itself is based upon a vinyl poly-resin fiber material. It is a composite and is
               definitely not a natural product such as redwood or western red cedar.

               In orderfor a product to be used and incorporated into a building, it must have an ICC Evaluation
               Report. This is a requirement of the 2001 CBC and all subsequent codes. An ICC report was
               issued for the Procell decking (ESR-1667) dated December 1, 2006. In checking with ICC
               Evaluations Services Inc., this report was the first and only report issued to Procell before its
               acquisition by Azek in 2007. While the report is dated December 1, 2006, it is based upon data
               provided in June 2006 so this report is contemporaneous with Willow Creek Apartment project.
             Case 3:15-cv-03945-WHO Document 86-1 Filed 04/26/17 Page 68 of 123



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        Under Section 2.0 Uses: of the ESR report, the Procell decking system is approved for "exterior
        use as deck boards for exterior balconies, porches, decks and stair treads •••". The Procell decking
        was used as exterior decking material at the subject project.

        Under Section 3.1 General: of the ESR report, the Procell decking has a flame-spread index of no
        greater than 200 as determined by ASTM E 84 testing protocol. Therefore, the Procell decking
        system has at least a Class C fire rating. It should be noted that 2x redwood and 2x western cedar
        also have a Class C fire rating when used in the same decking application as Procell.



        Alternate Materials: Section 104.2.8 Alternate for Materials, Design, Tests and Methods of
        Construction of the 2001 CBC reads as follows: "The provisions of this code are not intended to
        prevent the use of any material, alternate design or method of construction not specifically
        prescribed by this code, provided any alternate has been approved _and its use authorized by the
        building official. The building official may approve any such alternate, provided the building
        official finds that the proposed design is satisfactory and complies with the provisions of this
        code and that the material, method or work offered is, for the purpose intended, at least the
        equivalent of that prescribed in this code in suitability, strength, effectiveness, fire resistance,
        durability, safety and sanitation. The building official shall require that sufficient evidence or proof
        of submitted to substantiate any claims that may be made regarding its use. The details of any
        action granting approval of an alternate shall be recorded and entered in the files of the code
        enforcement agency."

        It is clear from this provision of the CBC that the building official has the authority to approve
        alternate materials provided he finds among other things that the material is at least equivalent to
        the replaced material in "fire resistance."

        Deferred Submittals: Section 106.3.4.2 Deferred Submittals of the 2001 CBC reads as follows: "For
        the purposes of this section, deferred submittals are defined as those portions of the design that
        are not submitted at the time of the application and that are to be submitted to the building official
        within a specified period.

        Deferral of any submittal items shall have prior approval of the building official. The architect or
        engineer of record shall list the deferred submittals on the plans and shall submit the deferred
        submittal documents for review by the building official.

        Submittal documents for deferred submittal items shall be submitted to the architect or engineer
        of record who shall review them and forward them to the building official with a notation
        indicating that the deferred submittal documents have been reviewed and that they have been
        found to be in general conformance with the design of the building. The deferred submittal items
        shall not be installed until their design and submittal documents have been approved by the
        building official."

        There clearly is a mechanism in the 2001 CBC for submittals after the fact {i.e. after the original
        plans and specifications have been submitted to the building official for approval and issuance of
        a permit). In fact, such a submittal was made to the Humboldt County, Building Inspection
        Department for the Procell decking system and it was approved by the building official on
        September 26, 2006. This approval then altered the approved plans and specifications by
        substituting the Procell product for the Ultra Guard decking material originally specified.
             Case 3:15-cv-03945-WHO Document 86-1 Filed 04/26/17 Page 69 of 123



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       We have contacted Ultra Guard and learned that they no longer make vinyl based exterior
       decking. In fact, Ultra Guard informed us that in the 2006-2007 time frame, the Ultra Guard decking
       product was no longer being manufactured. It is therefore likely that the request to substitute the
       Procell decking for the Ultra Guard product was prompted by the unavailability of the Ultra Guard
       decking.

       Fire Tests Conducted by Plaintiff: The Plaintiff has conducted fire tests on samples taken from the
       Willow Creek Apartment project. The tests conducted on the samples were 1.) Under Deck Test
       (Part A) 2.) Burning Brand Test (Part B, Class B) and 3.) ASTM Test Designation E84-15b. The
       Plaintiff cites requirements of the 2013 California Building Code, Chapter 7A (CSFM 12-7A-4) as
       relevance of these tests. As noted above; the 2001 edition of the California Building Code applies
       to the Willow Creek project so the 2013 CBC does not apply in this matter. Chapter 7A was not in
       the 2001 CBC and did not appear in any form until the 2007 CBC. As such, the Under peck Test
       and the Burning Brand test as cited in Chapter 7A do not apply to the Willow Creek project.

       Of relevance to Willow Creek is the ASTM E84-15b test. The test conducted by Plaintiff
       demonstrated a flame spread of 150 and a smoke development of 25. This gives the decking
       material a Class C fire rating. This is consistent with the contemporary ESR report which required
       a flame spread of less than 200 which the tested sample met.

       Finally, there is some question as to whether or not the sample taken from the project is a Procell
       product. In our view, this is not an issue as the fire rating of the tested sample, which is the only
       relevant issue, is the same as for the Procell product per its ESR report.

       Decking Material: Vinyl v. Concrete: Plaintiff has raised an issue regarding the decking material
       itself on the subject balcony deck. Review of the Approved drawings reveals the following:
           o    On Sheet A5.1, the 2nd Floor Plan is depicted. A section line through the balcony deck
                refers to Detail C on Sheet A5.2.
           • On Sheet A5.2, Detail C (Section C-C) refers to further Detail Don Sheet A6.1, Wall Section.
           • On Sheet A6.1, Detail D, Wall Section, clearly depicts the balcony decking material to be
                Ultraguard PVC decking.
           • On Sheet S4.2, the 2nd floor framing is depicted. A section line through the balcony deck
                refers to Detail 6 on Sheet S6.2.
           • On Sheet S6.2, Detail 6 depicts 2" of concrete topping over floor sheathing (unspecified).

       This is a classic example of the failure of the architect of record to properly integrate the
       structural drawings with the architectural drawings. With that said, the structural engineer has
       calculated the loads (the governing factor for the structural design) for concrete on the balcony
       decks. In fact, a lighter PVC decking was installed in lieu of concrete, so the structural design has
       not been compromised. The PVC decking is consistent with the architectural details and the
       architectural details govern in this instance. Further the use of PVC decking was reviewed and
       approved (including a change in the brand of the PVC decking) by the Humboldt County Building
       Inspection Department.

       Use of OSB v. Plywood: The Plaintiff asserts that OSB was inappropriately substituted for
       plywood for the exterior wall sheathing. On the structural drawing 56.5, under Wood Shear Wall
       Notes #7, it states that "Oriented Strand Board may be substituted for structural II plywood."
       Further substitution,of OSB for plywood does not compromise the fire resistivity of the structure
       as both materials have a flame spread within the Class C fire rating (see APA Technical Bulletin
       TT-010B). The use of OSB in the project is consistent with the design intent.
                  Case 3:15-cv-03945-WHO Document 86-1 Filed 04/26/17 Page 70 of 123



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             Observations and Conclusion: Danco Builders was the general contractor of record for the Willow
             ~ reek A artments ro·ect. Danco's task was to implement and build the design of the proj ect's
             architect of record. Danco was not responsible for the design of he proJect.

         The Ultra Guard decking system was no longer being manufactured in the 2006-2007 period. It
         seems likely that the Procell product was offered as a substitute for that reason. Danco likely
         submitted the Procell product for consideration to the architect who then submitted the product
         under a deferred submittal to the Humboldt County, Building Inspection Department. The Procell
         product was reviewed and approved by the building official on September 25, 2006.

         The Procell product has an ICC Evaluation Service, Inc. report (ESR-1667) that certifies the
         product for use as exterior decking and thus conforms to the requirement of the 2001 CBC for
         such products. Further, the Procell product has a Class C fire rating (flame spread index less than
         200) equal to 2x redwood or western red cedar when used as decking material. If the Procell
         product did not meet the design intent for the project, the architect would have been required to
         reject it as an alternate. Similarly, if the Procell product did not meet the requirements of the 2001
         CBC, the building official would have been required to reject the product as an alternate to the
         original design.

         However, the Procell product was not rejected but was approved for use as exterior decking. Once
         approved through a deferred submittal process, it became part of the APPROVED plans.

         The Plaintiff asserts that the actual decking material may not be the Procell product at all.
         However, the sample deck product that was tested by the Plaintiff has the same Class C fire rating
         as the Procell product. Therefore, even if the product used is one different than the Procell
         product itself, the actual product used is equivalent in its fire resistivity.

         I do not believe Danco acted negligently or fell below the standard of care for general contractors
         in offering the Procell (or equivalent} product as an alternate to the Ultra Guard product and
         having it approved by the building official for use in the project.
              Case 3:15-cv-03945-WHO Document 86-1 Filed 04/26/17 Page 71 of 123




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        Observations and Conclusion: Danco Builders was the general contractor of record for the Willow
        Creek Apartments project. Danco's task was to implement and build the design of the project's
        architect of record. Dan:co was not responsible for the design of the project.

        The Ultra Guard decking system was no longer being manufactured in the 2006-2007 period. It
        seems likely that the Procell product was offered as a substitute for that reason. Danco likely
        submitted the Procell product for consideration to the architect who then submitted the product
        under a deferred submittal to the Humboldt County, Building Inspection Department. The Procell
        product was reviewed and approved by the building official on September 25, 2006.

        The Procell product has an ICC Evaluation Service, Inc. report (ESR-1667) that certifies the
        product tor use as exterior decking and thus conforms to the requirement of the 2001 CBC for
        such products. Further, the Procell product has a Class C fire rating (flame spread index less than
        200) equal to 2x redwood or western red cedar when used as decking material. If the Procell
        product did not meet the design intent for the project, the architect would have been required to
        reject it as an alternate. Similarly, if the Procell product did not meet the requirements of the 2001
        CBC, the building official would have been required to reject the product as an alternate to the
        original design.

        However, the Procell product was not rejected but was approved for use as exterior decking. Once
        approved through a deferred submittal process, it became part of the APPROVED plans.

        The Plaintiff asserts that the actual decking material may not be the Procell product at all.
        However, the sample deck product that was tested by the Plaintiff has the same Class C fire rating
        as the Procell product. Therefore, even if the product used is one different than the Procell
        product itself, the actual product used Is equivalent in its fire resistivity.

        I do not believe Danco acted negligently or fell below the standard of care for general contractors
        in offering the Procell (or equivalent) product as an alternate to the Ultra Guard product and
        having it approved by the building official for use In the project.
Case 3:15-cv-03945-WHO Document 86-1 Filed 04/26/17 Page 72 of 123




         EXHIBIT 9
          Case 3:15-cv-03945-WHO Document 86-1 Filed 04/26/17 Page 73 of 123


     PHILADELPHIA INDEMNITY vs DANCO BUILDERS                            01/11/2017
     Kelley, Patrick                                                             1

 1                       UNITED STATES DISTRICT COURT

 2                      NORTHERN DISTRICT OF CALIFORNIA

 3

 4     PHILADELPHIA INDEMNITY                )
                                             )
 5     INSURANCE COMPANY,                    )
                                             )
 6                     PLAINTIFF,            )
                                             )
 7               vs.                         )   No.   15-CV-03945-WHO
                                             )
 8     DANCO BUILDERS, DOES 1 TO 10,)
                                             )
 9     INCLUSIVE,                            )
                                             )
10                                           )
                       DEFENDANTS .          )
11                                           )
       ---------------
12     DEPOSITION OF:            PATRICK E. KELLEY

13     DATE:                     Wednesday, January 11, 2017

14     LOCATION:                 1300 Clay Street
                                 Suite 600
15                               Oakland, CA 94612

16     REPORTED BY:              KATHLEEN WILKINS, CSR #10068

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     {800) 327-3003 I (415) 777-1190
     (805) 497-0046 I {818) 706-3749
          Case 3:15-cv-03945-WHO Document 86-1 Filed 04/26/17 Page 74 of 123


     PHILADELPHIA INDEMNITY vs DANCO BUILDERS                        01/11/2017
     Kelley, Patrick                                                           2

 1                   DEPOSITION OF PATRICK E. KELLEY

 2                    BE IT REMEMBERED that on Wednesday,

 3     January 11, 2017, commencing at the hour of

 4     10:02 a.m. thereof, at Yaron & Associates, 1300

 5     Clay Street, Suite 600, Oakland, California,

 6     before me, Kathleen A. Wilkins,

 7     RPR-RMR-CRR-CCRR-CLR, a Certified Shorthand

 8     Reporter, in and for the State of California,

 9     personally appeared PATRICK E. KELLEY, a witness

10     in the above-entitled court and cause, who, being

11     by me first duly sworn, was thereupon examined as

12     a witness in said action.

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          Case 3:15-cv-03945-WHO Document 86-1 Filed 04/26/17 Page 75 of 123


     PHILADELPHIA INDEMNITY vs DANCO BUILDERS                        01/11/2017
     Kelley, Patrick                                                        18

 1     Residential Code and the International Building

 2     Code.

 3           Q.       Did you -- are you familiar enough with

 4     the International Fire Code's model Urban-Wildland

 5     Interface Code to form an opinion on it?

 6           A.       No, I'm not.

 7           Q.       Okay.      Fair to say you've never worked

 8     on a project where the Urban-Wildland Interface

 9     Code was addressed?

10           A.       I can't say that, because from a general

11     contractor's standpoint, the addressing of code

12     issues is the responsibility of the designer,

13     whether it's a structural engineer or the

14     architect of record.            They do their research and

15     determine how a code may or may not apply.

16                    For a general contractor, it's generally

17     the California Building Code.            At least it was at

18     this time that we're talking about, this

19     particular building built 2006-2007 time frame.

20           Q.       So fair to say that your -- do you have

21     an op inion on whether or not the Urban-Wildland

22     Interface Code was a standard of care for the

23     general contractor in this case, or do you not

24     have enough information to know whether it is?

25           A.       My opinion is it was not a standard of


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     (805) 497-0046 I (818) 706-3749
         Case 3:15-cv-03945-WHO Document 86-1 Filed 04/26/17 ·~·.Page
                                                                 ,.   76 of 123


     PHILADELPHIA INDEMNITY vs DANCO BUILDERS                                 01/11/2017
     Kelley, Patrick                                                                 19

 1     care.      The standard of care at the time this

 2    building was built, this particular project, it

 3    was the California Building Code, which was what

 4    governed the standard of care at that time.

 5                    The WUI code was a model code that was

 6    _p romulg ated b y interested citizens and exp erts

 7     say ing we oug ht to consider this.               But it

 8     wasn't         it wasn't codified.             It wasn't part of

 9    _the requirements.               So then Humboldt County at the

10     time, and later the California Department of

11     Forestry and the California Fire Marshal, took

12     elements of the WUI code and codified them and

13     then made them part of the California Building

14     Code through a supplement called Chapter 7A.

15           Q.       And that became effective 1/1/08?

16           A.       Part of it did.          Part of it became

17     earlier than that.               It actually      part of it, in

18     dealing with roofs and soffits , I think it was

19     sometime in 2005, if I'm not mistaken.                  But with

20     regard to deck material, it was January 1st,

21     2011, after this building was permitted and

22     essentially completed.

23           Q.       Do you have any opinions on what types

24     of information and building materials was being

25     discussed by the industry prior to the State Fire


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     (805) 497-004&/- (818) 706-3749                                      ~~~~~~·
          Case 3:15-cv-03945-WHO Document 86-1 Filed 04/26/17 Page 77 of 123


     PHILADELPHIA INDEMNITY vs DANCO BUILDERS                          01/11/2017
     Kelley, Patrick                                                         168

 1                    MR. STEELE:        I'll have -- obviously I'll

 2     have a copy.

 3                    MR. COLE:        Same.

 4                     (Whereupon, the deposition concluded

 5           at 2:17 p.m.)

 6                    I declare under penalty of perjury the

 7     foregoing is true and correct.               Subscribed at

 8
       - - - - - - - - - - - - -,              California, this

 9     _ _ day of _______ , 2017.

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13                             PATRICK E. KELLEY

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     (800) 327-3003 I (415) 777-1190
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Case 3:15-cv-03945-WHO Document 86-1 Filed 04/26/17 Page 78 of 123




   1                          CERTIFICATE OF REPORTER

   2

   3                    I,     KATHLEEN A. WILKINS,

   4       RPR-RMR-CRR-CCRR-CLR,                Certified Shorthand

   5       Reporter, hereby certify that the witness in the

   6       foregoing deposition was by me duly sworn to tell

   7       the truth,        the whole truth and nothing but the

   8       truth in the within-entitled cause; that said
  ·g       deposition was taken down in shorthand by me,                                  a

 10        disinterested person,               at the time and place

 11        therein stated, and that the testimony of the said

 12        witness was thereafter reduced to typewriting, by

 13        computer,    under my direction and supervision.

 14                     .I   f u ·c th,,, r· c 9 rt 5- f y t   ~12   t    l am not of

 15        counsel or attorney for either or any of the

 16        parties to the said deposition,                               nor in any way

 17        interested in the event of this cause,                               and that I

 18        am not related to any of the parties thereto.

 19

 20                     DATED:Ja.u,~ _                t!f______________ ,               2017

 21

 22
                               ,·
 23        f{_c~ult;~? --------------------------------
 24       KATHLEEN WILKINS,             RPR-RMR-CRR-CCRR-CLR,                    CSR 10068

 25
Case 3:15-cv-03945-WHO Document 86-1 Filed 04/26/17 Page 79 of 123




       EXHIBIT 10



                              I
                          I

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                      Case 3:15-cv-03945-WHO Document 86-1 Filed 04/26/17 Page 80 of 123




                     . GEf\lERAL CONTRACTORS
..:::::~:.:i'.~_·-----·-,-·· CONSTRUCTiON CONSULU\NTS



                                           PHILADELPHIA INDEMNITY v. DANCO BUILDERS
                                                   United States District Court,
                                                       Northern California
                                                   Case No. 14-cv-03945-WHO

              1. Supplemental Report:

              This report is intended to supplement the report previously submitted by me in this
              matter. This report is being submitted at this time in order to comment upon additional
              material I subsequently reviewed.

              2. Supplemental Documents:

              I reviewed the following supplemental documents:

                     ..     2001 California Building Code Chapter 7A Emergency Supplement dated
                            December 1, 2005.
                     ..     2001 California Building Code Chapter ?A Emergency Supplement dated June 21,
                            2006 .
                     .,      Finding of Emergency by the California Department of Forestry (COF) and Fire
                            Protection Office of the State Fire Marshall (SFM) to the California Code of
                            Regulations, Title 24, California Building Code (CBC}, Part 2 and the California
                            Referenced Standards Code (CRSC), Part 12 Regarding Phase 11-Wildland-Urban
                            Interface Fire Areas Building Standards dated August 2005.
                     ..     Emergency Express Terms by the California Department of Forestry (CDF) and
                            Fire Protection Office of the State Fire Marshall (SFM} to the California Code of
                            regulations, Title 24 California Building Code (CBC) Part 2 and the California
                            Referenced Standards Code (CRSC), Part i 2 Regarding Phase II- Wild land-Urban
                            Interface Fire area building Standards dated August 2005.

              3. Comments and Observations:

              With the emergency provisions cited above, the 2001 CBC was amended with Chapter
              7A. Four areas of concern were cited within these provisions with regard to the design,
              permitting and construction of new structures within a designated Wi!dland-Urban
              Interface Zone. Those areas so addressed are Roofs, Attic Ventilation, Exterior Walls and
              Decking. The provisions affecting Roofs and Attic Ventilation (Sections 704A.1 and
              704A.2 respectively) are to be implemented with the application for a building permit for a
              new building after December 1, 2005 (see Section 701A.3 Application).

              Similarly, the provisions affecting Exterior Walls and Decks {sections 704A.3 and 704A.4


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 fax _{3_5_Q.59'! .268~)____
                    Case 3:15-cv-03945-WHO Document 86-1 Filed 04/26/17 Page 81 of 123



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           respectively) come under the jurisdiction of this emergency supplement when applying
           for a permit for a new building in an Wildland-Urban Interface Zone but not until January
           11 2008 (emphasis added) (see Section 701A.3.2 New Buildings Located in any Fire
           Hazard Severity Zone). The provisions basically require that Exterior Walls and Decks be
           constructed of Ignition Resistant Materials.

           The Willow Creek Apartments were approved for construction by the Humboldt County,
           Buildin g Department on September 25, 2006 so would not be subject to these emergency
           §Y.l!Qlement provisions for Exterior Walls and Decks at the time of permitting.




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Case 3:15-cv-03945-WHO Document 86-1 Filed 04/26/17 Page 82 of 123




       EXHIBIT 11
 Case 3:15-cv-03945-WHO Document 86-1 Filed 04/26/17 Page 83 of 123


LARRY PELTON                                              January 09, 2017
PHILADELPHIA INDEMNITY INS vs DANCO BUILDERS                            1




                   UNITED STATES DISTRICT COURT

                  NORTHERN DISTRICT OF CALIFORNIA

                               --000--

 PHILADELPHIA INDEMNITY                     )
 INSURANCE COMPANY,                         )
                                            )
                         Plaintiff,         )Case No.
                                            )3:15-cv-03945-WHO
            vs.                             )
                                            )
DANCO BUILDERS, DOES 1 to 10                )
Inclusive,                                  )
                                            )
                        Defendants.         )

--------------------)



                       EXPERT DEPOSITION OF

                           LARRY PELTON



                         January 09,     2017

                             9:42 a.m.



                    1300 Clay Street, Suite 800

                        Oakland, California




Reported by:      Michelle L. Archuletta,       CSR No.   11028


                                                    800.211.DEPO (3376)
                                                    EsquireSolutions. com
      Case 3:15-cv-03945-WHO Document 86-1 Filed 04/26/17 Page 84 of 123


     LARRY PELTON                                            January 09, 2017
     PHILADELPHIA INDEMNITY INS vs DANCO BUILDERS                          17

 1        A.    Yes.
 2        Q.    When you say the vinyl -- I'm sorry -- "The box
 3   was up against the vinyl siding," are you saying -- you
 4   are saying that the cardboard box, the second source of
 5    fuel was adjacent to that north wall on the deck,
 6   correct?
 7        A.    That's correct.      Adjacent to it.      I don't know
 8    if it was touching, but I believe it was within an inch
 9   or two.
10        Q.    Fair enough.     You say that you usually get
11   _a pproximately 30 percent more heat release towards the
12   ~ eiling , and what do you mean by that?
13        A.     If a fire is burning against a wall or in a
14   corner versus in the center of a room, the heat is going
                                                                            J



15   to -- instead of -- if it was in, say , the middle of the
16   deck . the heat is going to be dissipated on all sides,
17 ,okay?      If it's up against something that's blocking it,
18    the heat is going to hit that and then rise up quicker
19    than it would if it had dissipated out.
20        Q.    And in this case, the 30 percent increase in
21   heat release was directly towards the, what we've called
22    the northwest wall, which had vinyl siding on the
23   exterior, correct?
24        A.    Yes.
25        Q.    All right.     And what was the consequence of

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     LARRY PELTON                                            January 09, 2017
     PHILADELPHIA INDEMNITY INS vs DANCO BUILDERS                          18

 1   that approximately 30 percent increase in heat release
 2   towards the vinyl siding?
 3        A.     Just gets the heat to the vinyl soffit quicker
 4   than it would have if the fire had been in the middle of
 5   the deck.
 6        Q.     Did that cause the vinyl siding to melt quicker
 7   than it otherwise would have?
 8        A.     I don't know.
 9        Q.     Okay.
10        A.     If -- you know, it being closer to the actual
11    ignition source, if that's what you mean, yes.             If
12   than versus being in the middle of the deck, yeah, the
13   siding would have taken longer to ignite if it had
14   been -- the fire had been in the middle of the deck with
15   a sizable airspace between the actual fire initially and
16   the siding.
17        Q.     Okay.   Now, I want to turn to page 60 of your
18   deposition transcript, and this is line 10:
19                "Question:     All right.    Did the fire
20                 from the cardboard box and the paper
21                 bag, did that ignite the siding on that
22                 north wall?
23                "Answer:     I have no way of knowing if
24                 that actually ignited the siding or
25                 when it got to the deck and the heat

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      Case 3:15-cv-03945-WHO Document 86-1 Filed 04/26/17 Page 86 of 123


     LARRY PELTON                                            January 09, 2017
     PHILADELPHIA INDEMNITY INS vs DANCO BUILDERS                          32

 1   to meet the California Building Code at issue -- or
 2   governing at the time Willow Creek Apartments was
 3   constructed; is that true?
 4        A.    If we're just specifically talking about the
 5   California Building Code and not the Urban Interface
 6   Code for wildland safety or fire safety there, then I
 7   don't know.
 8        Q.    We're just talking about the California
 9 _Building Code.
10        A.    Okay.
11        Q.    You know what the California Building Code is,
12    right?
13        A.    Yes.
14        Q.    What's the California Building Code?
15        A.    It's a standard that is to be met when you're
16   ~uilding -- doing construction in California.
17        Q.    It's the law basically, right?
18        A.    Yes.
19        Q.    All right.     And , hypothetically , if the
20   California Building Code permitted decking to be Class C
21   at the time Willow Creek Apartments was constructed,
22
23
      .
     then the -green deck would have satisfied the Cal ifornia_
     Building Code, correct?
24        A.    Correct.
25        Q.    Now, we talked about -- strike that.

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      Case 3:15-cv-03945-WHO Document 86-1 Filed 04/26/17 Page 87 of 123


     LARRY PELTON                                            January 09, 2017
     PHILADELPHIA INDEMNITY INS vs DANCO BUILDERS                          35

 1        A.    That's correct.
 2        Q.    All right.     Let's just talk about the Ultra
 3   Guard.    Was that a vinyl deck?
 4        A.    It was a plastic composite.         I don't remember
 5   if it was vinyl or what it was made of.
 6        Q.    Is Ultra Guard a brand name, to your knowledge?
 7        A.    Yes.
 8        Q.    Have you ever investigated the flame spread

 9   characteristics of an Ultra Guard deck?
10        A.    I've never investigated the flame
11   characteristics of it, no.
12        Q.    Have you ever come across an Ultra Guard deck
13   in any of the 400 or so fires that you've investigated?
14        A.    Not that I'm aware.
15        Q.    Are you generally familiar with that product,
16   an Ultra Guard vinyl deck?
17        A.    No.
18        Q.    Do you have an opinion as to whether or not --
19   strike that.

20              As you sit here right now, you don't know if

21   the Ultra Guard vinyl deck that was specified in the
22   plans has a Class A or a Class Bora Class C

23   classification for flame spread, correct?

24        A.    I don't recall what the flame spread is.            I

25   believe I've seen some documentation on it.            I don't


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      Case 3:15-cv-03945-WHO Document 86-1 Filed 04/26/17 Page 88 of 123


     LARRY PELTON                                            January 09, 2017
     PHILADELPHIA INDEMNITY INS vs DANCO BUILDERS                          36

 1   recall what it is right now.
 2        Q.    So my question is correct then?
 3        A.    As I sit here today, I don't remember what the
 4    flame spread would be on it.
 5        Q.    So you don't have an opinion as to whether or
 6   not the green deck that was actually installed at Willow
 7    Creek has a better or worse classification than the
 8   Ultra Guard deck that was specified in the plans; is
 9    that correct?
10        A.    Alls I recall is that the green decking
11   material is -- how do you say? -- I was going to say
12   worse in the flame spread than the Ultra Guard.              I
13    don't     like I'm trying to say, I don't remember what
14    the Ultra Guard is.      I just know that Ultra Guard was a
15    better product than the green deck board.
16        Q.    Is that written in your report anywhere,
17    Exhibit 5, that the Ultra Guard was a, quote, better
18   product than the green deck?
19        A.    No, because that wasn't my -- my goal at the
20    time is to write the report of what caused the fire and
21    what contributed to the spread.        Not what products
22    should have been used.
23        Q.    Okay.    But when you say "better," you're not
24    quantifying better as when comparing the green deck to
25    the Ultra Guard vinyl deck, correct?

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      Case 3:15-cv-03945-WHO Document 86-1 Filed 04/26/17 Page 89 of 123


     LARRY PELTON                                            January 09, 2017
     PHILADELPHIA INDEMNITY INS vs DANCO BUILDERS                          37

 1        A.    I don't know what you mean by that.
 2        Q.    Bad question.     I'll withdraw it.
 3              You don't know whether the Ultra Guard deck
 4   that was specified in the plans has a Class A, Class B,
 5   or Class C fire rating, according to the California
 6   Building Code, correct?
 7        A.    Sitting here today, I don't recall.
 8        Q.    All right.     Fair enough.     So it could be the
 9   case that the Ultra Guard vinyl deck has a Class C fire
10    rating and the green deck that was actually used also
11   has a Class C fire rating, correct?
12        A.    As I sit here today, yes, it could be.
13        Q.    Now, there is mentioned in the plans, in the
14    structural section of the plans of a light concrete
15   deck.
16              You recall that, right?
17        A.    Yes.
18        Q.    And do you have an opinion as to whether or not
19   Danco was negligent in not using a light concrete deck
20    as opposed to the actual green deck that was used?
21        A.    I don't believe it's up to me to determine who
22    is negligent.
23        Q.    Okay.    In your opinion, if Danco had used the
24    light concrete deck as opposed to the green deck, would __
25    that have changed the fire spread and the fire damage at


     ~ ESQllJJ3J;~                                       800.211.DEPO (3376)
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      Case 3:15-cv-03945-WHO Document 86-1 Filed 04/26/17 Page 90 of 123


     LARRY PELTON                                            January 09, 2017
     PHILADELPHIA INDEMNITY INS vs DANCO BUILDERS                          38

 1   the Willow Creek Apartments?
 2          A.   Yes.
 3          Q.   How so?
 4          A.   The -- obviously the decking material would not
 5   have contributed to the fire intensity and spread.               It
 6   would have -- the cardboard box, I believe, eventually
 7   would have ignited the siding and then the craft paper,
 8   construction paper underneath, and then the OSB
 9   underneath that, and spread up the wall into the attic
10    through the vinyl soffit and then into the attic area.
11          Q.   Do you have any opinion on how much slower or
12   quicker the process you just described would have
13   happened had, hypothetically, light concrete deck had
14   been used instead of the green deck?
15          A.   The process would have been much slower than it
16   was.
17          Q.   When you say "much slower," you don't have an
18    opinion as to how long, right?
19          A.   No.     I just know it would have been a much
20    smaller fire initially.
21          Q.   Okay.     But you don't have an opinion as to the
22    difference or the delta between times?
23          A.   Are you talking the time frame?
24          Q.   Sure.
25          A.   It's too hard to quantify, because I don't know

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      Case 3:15-cv-03945-WHO Document 86-1 Filed 04/26/17 Page 91 of 123


     LARRY PELTON                                            January 09, 2017
     PHILADELPHIA INDEMNITY INS vs DANCO BUILDERS                          39

 1   when the fire would have been noticed, because without
 2   the plastic vinyl decking burning, I don't know what the
 3    smoke would have been produced to be able to -- you
 4   know, how long it would have had to have burned before
 5    somebody noticed the fire.        I can't quantify a time
 6    there since it's something that didn't happen, so ...
 7        Q.      The bottom line is you cannot quantify a time
 8   difference had a light concrete deck been used as
 9   opposed to the green deck, correct?
10        A.      Not a time period besides much slower
11   p rogression of the fire.
12                MR. STEELE:   Let's mark the next exhibit in
13    order, 7.
14                 (Exhibit 7 marked)
15    BY MR. STEELE:
16        Q.      Mr. Pelton, I'm showing you Exhibit 7.          It's a
17   pamphlet titled Procell Decking Systems.
18                Do you see that?
19        A.      Yes.
20        Q.      It's stamped Approved by the Humboldt County
21    Building Inspection Department, September 25, 2006; is
22    that right?
23        A.      That's correct.
24        Q.      And then it says the plans reviewed by
25    Precision Inspection, I think that says Company or

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      Case 3:15-cv-03945-WHO Document 86-1 Filed 04/26/17 Page 92 of 123


     LARRY PELTON                                             January 09, 2017
     PHILADELPHIA INDEMNITY INS vs DANCO BUILDERS                           65

 1   that the fire -- Captain Hicks believed it started in a
 2   plant on top of an object.          It's obvious that that
 3   object that the plant was on did not ignite, so that's

 4   an additional fuel source.
 5               The low fuel source here, obviously, ignited

 6   the siding, but did not burn as intensely as the fire
 7   that we had in the 2013.

 8        Q.     It also didn't -- the 2008 fire did not burn as
 9   long as the fire in 2013, correct?
10        A.     Overall fire, no.

11        Q.     And the 2008 fire was originated by another
12   cigarette that was improperly disposed; is that correct?
13        A.     That's Captain Hicks' opinion.
14        Q.     Do you agree with that opinion?
15        A.     I have no knowledge of yes or no.
16        Q.     Okay.    Fair enough.    So the   --   strike that.
                                                                        '
17               The other issue that you disagree with

18   Dr. Cuzzillo is late ignition of the deck, correct?
19        A.     That's correct.

20        Q.     What is your disagreement on that particular

21    issue?

22        A.     I believe it ignited once the cardboard box

23    ignited.    After the cardboard box burned down, it would
24   have iqnited the deck, not the drop down from the attic.

25        Q.     Okay .   And what's y our basis for that op inion?


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      Case 3:15-cv-03945-WHO Document 86-1 Filed 04/26/17 Page 93 of 123


     LARRY PELTON                                            January 09, 2017
     PHILADELPHIA INDEMNITY INS vs DANCO BUILDERS                          66

 1        A.    The patterns.

 2        Q.    Which pattern?

 3       A.   The rectangular p attern on the deck underneath ,
         •
 4   where the cardboard box was located that burned through

 5   the decking there.

 6        Q.    Besides that rectangular pattern on the deck

 7   where it burned through, are there any other bases for

 8   this opinion that you have?

 9        A.    I don't know if I follow the question.

10        Q.    Sure.   You gave me your opinion that the green

11   deck ignited earlier rather than later, correct?

12        A.    Correct.

13        Q.    You said one of the bases was that the pattern,

14   the rectangular pattern on the green deck where it

15   burned through, correct?

16        A.    Yes.

17        Q.    That's at the northwest hole, right?

18        A.    Yes.

19        Q.    And I asked whether you have any other bases to

20   support that opinion.

21        A.    My knowledge of how fire burns.

22        Q.    And explain to me what's that knowledge of how

23   fire burns.

24        A.    Once that product is ignited, say the paper bag

25   initially is ignited, it burns, it drops down, it



     ~    ESQ1JJJ3J;~                                    800.211.DEPO {3376)
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      Case 3:15-cv-03945-WHO Document 86-1 Filed 04/26/17 Page 94 of 123


     LARRY PELTON                                            January 09, 2017
     PHILADELPHIA INDEMNITY INS vs DANCO BUILDERS                          69

 1        A.    I don't have any with me, but it's in my
 2   training and observations of fire.
 3        Q.    Is that some hard-and-fast rule?
 4        A.    There is documentation to that, yes.
 5        Q.    And what -- is that in the NFPA fire
 6   investigation guidelines, 921, I guess.
 7        A.    Yeah, there's documentation in 921 that talks
 8   about fires on horizontal surfaces versus vertical
 9   surfaces, yes.
10        Q.    What does that say?       What does it say about
11   horizontal surfaces?
12        A.    It's going to burn at a slower rate.           It will
13   travel at a slower rate on a horizontal surface.              Spread
14   out on a horizontal surface slower than it's going to
15   be on      than it would be, like I said before, against a
16   wall.
17        Q.    How slow of a rate, if you know?
18        A.    I don't know.
19        Q.    And you don't make that determination in your
20   expert report, Exhibit 5, the rate of horizontal burning
21   of the deck, right?
22        A.    No, I don't.
23        Q.    That's correct?
24        A.    That's correct.
25        Q.    Let's talk a little bit about the WUI standard.


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      Case 3:15-cv-03945-WHO Document 86-1 Filed 04/26/17 Page 95 of 123


     LARRY PELTON                                            January 09, 2017
     PHILADELPHIA INDEMNITY INS vs DANCO BUILDERS                          70

 1   We talked about that earlier.         You know what WUI means,
 2   right?
 3        A.    The Urban Interface?
 4        Q.    Yes.
 5        A.    Yes.
 6              MR. STEELE:     Let's mark this as exhibit next in
 7   order.
 8                 (Exhibit 13 marked)
 9   BY MR. STEELE:
10        Q.    You have Exhibit 13 in front of you,
11   Mr. Pelton?
12        A.    Yes.
13        Q.    This is a document entitled, "International
14   Urban-Wildland Interface Code, 2003."
15              Do you see that?
16        A.    Yes.
17        Q.    If you go to, I guess, it's page iii of the
18    introduction, Roman numerals.        You see that, sir?
19        A.    Yes.
20        Q.    And under the last paragraph it says,
21    "Adoption.   11



22              Do you see that?
23        A.    Yes.
24        Q.    And first two sentences, "The International
25   Urban-Wildland Interface Code is available for adoption


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                   Case 3:15-cv-03945-WHO Document 86-1 Filed 04/26/17 Page 96 of 123


     LARRY PELTON                                                         January 09, 2017
     PHILADELPHIA INDEMNITY INS vs DANCO BUILDERS                                       71

 1       and use by jurisdictions internationally.                     Its use
 2       within a governmental jurisdiction is intended to be
 3           accomplished through adoption by reference in accordance _
 4       with proceedings establishing the jurisdiction's laws."
 5                           Do you see that?
 6                     A.    Yes.
 7                     Q.    That's a lot of fancy language, but basically
 8      y our interpretation of this WUI code is that until it's
 9           adopted by a jurisdiction's laws, it's not a binding
10           ~uthority ; isn't that true?
11                           MR. COLE:     Objection.    Calls for a legal
12           conclusion.
13                           THE WITNESS:     My understanding from working in
14           a city entity, that we need to adopt the fire code
15           before it becomes a law for our particular city, y es.
16           BY MR. STEELE:
17                     Q.    Okay.    And in this particular case, the WUI was
18           not adopted at the time the permits were issued for the
19       Willow Creek Apartments to be built, correct?
20                     A.    I don't know that for sure.
21                    . Q.   You j ust don't know?
22   ·.: •   ...       A.    No.
23                     Q.    And according to the -- what's the next in
24           order?

25                           THE REPORTER:      14.


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      Case 3:15-cv-03945-WHO Document 86-1 Filed 04/26/17 Page 97 of 123


     LARRY PELTON                                            January 09, 2017
     PHILADELPHIA INDEMNITY INS vs DANCO BUILDERS                          76

 1        A.    Yes, quite awhile ago.
 2        Q.    Captain Hicks is the person who primarily
 3    investigated and fought the fire at issue in this case,
 4    right?
 5        A.    Yes.
 6        Q.    Captain Hicks did not have any criticisms of
 7   the green deck, correct?
 8        A.    Correct .
 9        Q.    All right.     The response time between when the
10   Willow Creek Volunteer Fire Department was alarmed or
11   notified of the fire and when it got to the scene was
12    about eight minutes; is that a fair statement?
13        A.    Yes.
14        Q.    All right.     The alarm for the fire, though, was
15   made by a driver on Highway 96 driving by the Willow
16    Creek Apartments, correct?
17        A.    Correct.
18        Q.    Highway 96 is how far from the Willow Creek
19   Apartment?
20        A.    Several hundred yards.
21        Q.    At least 400 yards, right, if not --
22        A.    I believe so.
23        Q.    All right.     No tenant -- well, strike that.
24              Ms. Cheatum, we already talked about, did not
25    notify the fire department, correct?

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          Case 3:15-cv-03945-WHO Document 86-1 Filed 04/26/17 Page 98 of 123


     LARRY PELTON                                                January 09, 2017
     PHILADELPHIA INDEMNITY INS vs DANCO BUILDERS                              77

 1            A.      Correct.
 2            Q.      No other tenant did, as far as you know,
             -
 3        correct?
 4            A.      Correct.
 5            Q.      So it was just pure luck that a driver on
 6        Highway 96 saw the fire and called the fire department,
                                                                                '

 7        right?
 8            A.      Yes.
 9               Q.   The fact that no tenant called the fire
10        department means that the fire burned longer than it
11        otherwise would have, had a -- someone close by notified
12        the fire department, correct?
13            A.      I 9:uess it's safe to assume that, yes.
14               Q.   Is it more likely than not, that's what
15        occurred?
16               A.   Yes.
17               Q.   Okay.
18               A.   Because somebody did not see it and call in
19        obviously.
20               Q.   All right.   Can you estimate how long the fire
21        burned from inception to first alarm?
22               A.   I believe I stated that in my last deposition,
23
     ·-
          and it could have been as little as three minutes till
24        eight or nine minutes that it could have burned before
25        notification.

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      Case 3:15-cv-03945-WHO Document 86-1 Filed 04/26/17 Page 99 of 123


     LARRY PELTON                                            January 09, 2017
     PHILADELPHIA INDEMNITY INS vs DANCO BUILDERS                          78

 1        Q.    Right.      You gave a range, I think, of 12 to 17
 2   minutes total for the fire burning before firemen came
 3   to the scene?
 4        A.    Before they arrived on scene, correct.
 5        Q.    12 to 17 minutes, right?
 6        A.    Correct .
 7        Q.    And once the northwest wall started burning,
 8   the vinyl siding, the moisture barrier, and the OSB, was
 9   there anything to prevent or stop or impede that flame
10    from going to the attic spaces?
11        A.    Besides the vinyl soffit, no.
12        Q.    And the vinyl soffit is at the top, correct?
13        A.    Correct.
14        Q.    All right.      And the vinyl soffit did not impede
15   the fire into the attic spaces, right?
16        A.    Not much.
17        Q.    Any soffit that was there had vents, openings
18   that would have permitted the fire to go through,
19   correct?
20        A.    Depends on the type of construction.
21        Q.    So you just don't know?
22        A.    Well, in a wildland-Urban-Interface-type
23   construction you'd have to have fireproof vents that
24   don't allow fire through the vent.
25        Q.    And you don't know whether that was required --

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     Case 3:15-cv-03945-WHO Document 86-1 Filed 04/26/17 Page 100 of 123


     LARRY PELTON                                           January 09, 2017
     PHILADELPHIA INDEMNITY INS vs DANCO BUILDERS                          86

 1                          CERTIFICATE OF REPORTER

 2                 I, MICHELLE L. ARCHULETTA, a Shorthand

 3   Reporter, State of California, do hereby certify that

 4   the witness in the foregoing deposition was present and

 5   by me sworn as a witness in the above-entitled action at

 6   the time and place therein specified;

 7                 That said deposition was taken before me at

 8   said time and place, and was taken down in shorthand by

 9   me, a Certified Shorthand Reporter of the State of

10   California, and was thereafter transcribed into

11   typewriting, and that the foregoing transcript

12   constitutes a full,      true, and correct report of said

13   deposition and of the proceedings that took place;

14                 That before completion of the proceedings,

15   the witness has requested review pursuant to Rule

16   30 (e) (2).

17                 IN WITNESS WHEREOF, I have subscribed my name.

18

19                 DATED:   January 18, 2017.

20

21
                                     MICHELLE L. ARCHULETTA
22                                   CSR No. 11028

23

24

25



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     Case 3:15-cv-03945-WHO Document 86-1 Filed 04/26/17 Page 101 of 123


     LARRY PELTON                                           January 09, 2017
     PHILADELPHIA INDEMNITY INS vs DANCO BUILDERS                          87

 1                          DEPOSITION ERRATA SHEET
 2

 3   Job No. J0499695
 4   Philadelphia Indemnity Insurance Company
 5   vs.
 6   Danco Builders, et al.
 7

 8               DECLARATION UNDER PENALTY OF PERJURY
 9         I declare under penalty of perjury that I have read
10   the entire transcript of my Deposition taken in the
11   captioned matter or the same has been read to me, and
12   the same is true and accurate, save and except for
13   changes and/or corrections, if any, as indicated by me
14   on the DEPOSITION ERRATA SHEET hereof, with the
15   understanding that I offer these changes as if still
16   under oath.
17          Signed on the             day of
18   20
19
20
21                              LARRY PELTON
22

23
24
25


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Case 3:15-cv-03945-WHO Document 86-1 Filed 04/26/17 Page 102 of 123




       EXHIBIT 12
   Case 3:15-cv-03945-WHO Document 86-1 Filed 04/26/17 Page 103 of 123




                                         October 10 1 2016

                  REBUTTAL TO SEPTEMBER 22, 2016 HUGHES DISCLOSURE

                       By Matthew Cardle, Registered California Architect

                                        IN THE MATTER OF:

                  Philadelphia Indemnity Insurance Company v. Danco Builders

                                  U.S. District Court, N.D. Cal.,

                                   Case No. 15-cv-03945-WHO

Introduction:

Jeff Hughes, a Construction Manager with WEXCO International Corporation submitted his
Expert Witness Disclosure in this matter on or about September 22, 2016. In is disclosure, a
number of codes and code supplements are cited which were either not adopted by local and
State authorities or were adopted after the drawings were accepted by the Humboldt County
Building Department on April 10, 2006 application date for review. The date on which drawings
are accepted for review typically establishes the codes to be enforced through completion of the
project. Though there were emergency amendments issued by the State of California after April
10, 2006 which made some requirements retroactive, the requirements as they relate to this
matter were not increased.

The Hughes Disclosure also asserts the Structural Drawings for the Willow Creek Apartments
should govern over the Architectural Drawings for non-structural building assemblies.

Background Information:

The Hughes Disclosure cites the following published codes and code supplements as they may
apply to the decking:

2.1 - 1997 & 2000 Urban-Wildland Interface Codes

2.2 - 2001 California Fire Code

2.3 - 2001 California Building Code

2.5 - 2003 International Urban-Wildlife Interface Code

2.7 - December 2005, Emergency Supplement to the California Building Code (Chapter 7A
Materials and Construction Methods for Exterior Wildfire Exposure)

2.8 - June 2006, Emergency Supplement to the California Building Code (Chapter 7A Materials
and Construction Methods for Exterior Wildfire Exposure)

2.9 - July 2006 Emergency Supplement to the California Building Code (Chapter 7A Materials
and Construction Methods for Exterior Wildfire Exposure) Decking SFM Standard 12-7A-4.

2.1 O - 2007 California Building Code
   Case 3:15-cv-03945-WHO Document 86-1 Filed 04/26/17 Page 104 of 123




In regard to conflicts between drawings prepared by different design and/or engineering
disciplines for the same project, ie Architectural and Structural, materials and assemblies which
resist vertical and horizontal (lateral) forces are fixed and described in the Structural Drawings.
Materials and assemblies which do not seive to resist these forces are fixed and described in
the drawings prepared by other disciplines. Structural drawings will often list and note special
conditions like heavy deck toppings to document the engineering criteria used. Where this is
done, the structural engineer will commonly refer back to the discipline which may specify the
non-structural material or assembly. By noting the material or assembly, the structural engineer
is not expected to fully specify or design it. The structural drawings will not automatically govern
over the architectural drawings, for example, in the absence of other documentation where a
conflict between them may arise.
Observations:

The cited Urban Wildlife Interface Codes are not relevant and do not apply. These codes were
not adopted by local or State authorities.

The 2007 California Building Code was enforced as of January 1, 2008. This is after the date
on which drawings were accepted for review and the issuance of the build ingpermit on
November 2, 2006. This code is not relevant in this matter and does not apply.

The 2001 California Building and Fire Codes were adopted by Humboldt County. The
December 2005, June 2006, and July 2006 Emergency Supplements were issued by the State
of California and adopted by Humboldt County as mandated by the State. The December 2005
Emergency Supplement applied to the design and construction of the Willow Creek Apartments
because it was adopted as part of the California Building Code prior to the date on which
drawings were accepted for review.

Both the June 2006 and July 2006 Emergency Supplements have requirements retroactive to
December 2005, though the requirements do not exceed those put forward in the December
2005 Emergency Supplement as they pertain to this matter.

The December 2005 Emergency Supplement, Section 704, sets requirements for materials,
systems, and methods of construction in the State Responsibility Area for roofing (roof
coverings, roof valleys, and roof gutters) and attic ventilation (eave or cornice vents). Part
704A.4 is titled Decking, Floors, and Underfloor Protection and marked RESERVED. No
requirements for decking are set in this emergency supplement.

There is reference to concrete topping slabs at the exterior balconies in the Structural Drawings.
The slabs do not resist any vertical or lateral forces . The underlying plywood is called for to
provide a substrate for the waterproofing and concrete topping . The deck structure is the same
regardless of the decking or topping used as long as it weighs less than and employs similar
attachment techniques as the noted concrete topping assembly.

Conclusion:

The 2001 California Building Code and the December 2005 Emergency Supplement did not set
requirements for the materials, systems, or methods of construction for decking in the State
Responsibility Area on the date which drawings were accepted for review by the Humboldt
County Building Department. The 2001 California Building Code set the requirements until the
issuance of the June 2006 Emergency Supplement.
   Case 3:15-cv-03945-WHO Document 86-1 Filed 04/26/17 Page 105 of 123




The General Contractor and the Architect of Record had no obligation to refer to published
Urban-Wildlife Interface Codes or the 2007 California Building Code because they were either
not or not yet adopted by Humboldt County.

The use of plank decking instead of concrete topping does not present a structural issue
because the plank decking does not increase the weight of the deck assembly over the
capacities engineered for concrete topping.



Respectfully Submitted,




Matthew Cardle, AIA, CSI

October 10, 2016
Case 3:15-cv-03945-WHO Document 86-1 Filed 04/26/17 Page 106 of 123




        EXHIBIT 13
 Case 3:15-cv-03945-WHO Document 86-1 Filed 04/26/17 Page 107 of 123


VYTENIS BABRAUSKAS, PH.D.                                 January 03, 2017
PIIC vs DANCO BUILDERS                                                   1




                    UNITED STATES DISTRICT COURT

                   NORTHERN DISTRICT OF CALIFORNIA

                               --000--

 PHILADELPHIA INDEMNITY
 INSURANCE COMPANY,

                          Plaintiff,        )Case No.
                                            )3:15-cv-03945-WHO
             vs.                            )
                                            )
DANCO BUILDERS, DOES l       to 10          )
Inclusive,                                  )
                                            )
           Defendants.                      )
____________________                        )




                        EXPERT DEPOSITION OF

                     VYTENIS BABRAUSKAS, PH.D.



                          January 03,    2017

                              9:07 a.m.



                     1300 Clay Street, Suite 800

                         Oakland,    California




 Reported by:       Michelle L. Archuletta,       CSR No. 11028


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      Case 3:15-cv-03945-WHO Document 86-1 Filed 04/26/17 Page 108 of 123

     VYTENIS BABRAUSKAS, PH.D.                               January 03, 2017
     PIIC vs DANCO BUILDERS                                                14

 1        A.    No.

 2        Q.    And what was your scope of your assignment?
 3        A.    It was to answer various fire science-type
 4   questions as to behavior of materials of construction
 5   practices that are appropriate in high hazard zones and
 6   related issues that have to do with fire safety
 7   questions.
 8        Q.    Are you an origin and cause expert?
 9        A.     I -- I'm certainly qualified to opine on the
10    science aspects of these.        I do not do digging of debris
11    in field investigation, so I solely answer questions
12   that are of a scientific nature.          I do not undertake to
13   ~o investigations for p eop le in the sense of getting out
14   with a team of folks with shovels and processing a fire
15    scene.
16        Q.    Okay.    How about without a team of shovels, but
17    just making a determination what the origin and cause
18   was of the fire?
19        A.     I do do that if it's a question of science
20   ~eing the needed tool for that particular query.
21        Q.    Did you do that in this case?
22        A.    No.

23        Q.    Have you spoken with any other experts in this
24   case retained by Mr. Cole?
25        A.    No.


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     Case 3:15-cv-03945-WHO Document 86-1 Filed 04/26/17 Page 109 of 123

     VYTENIS BABRAUSKAS, PH.D.                              January 03, 2017
     PIIC vs DANCO BUILDERS                                               40

 1   measured information, most likely would be 16 inches on
 2   center.
 3        Q.     Okay.     So is it your opinion that the cardboard
 4   box was somewhere between O and 16 inches from the north
 5   wall?
 6        A.     No.     My opinion is that it was in the next full
 7    joist space not counting the joist space that is
 8   directly up against the wall, which looks to me like it
 9   ~ ay have been a little bit short of the spacing that was
10   had by the other joist spaces.
11        Q.     Okay.     Can you give me a rough estimate in feet
12   or inches --
13        A.     Yeah, about a foot away.
14        Q.     When you say "a foot away," and then I'll move
15   on, you're saying that the cardboard box was about a
16    foot away from the north wall, correct?
17        A.     From that exterior wall, yes.
18        Q.     And how long, if you know, did the cardboard
19   box burn?
20        A.     We don't.     We don't have any video or such, to
21   my knowledge, that would -- that would help us to
22   determine that.
23        Q.     Do you have an opinion as to how long the
24   cardboard box burned?        And you're right, we don't have a
25   video of it, but you can, perhaps, offer an opinion if

                                                        800.211 .DEPO (3376)
                                                        EsquireSo/utions.com
      Case 3:15-cv-03945-WHO Document 86-1 Filed 04/26/17 Page 110 of 123

     VYTENIS BABRAUSKAS, PH.D.                                January 03, 2017
     PIIC vs DANCO BUILDERS                                                138

 1                         CERTIFICATE OF REPORTER

 2                I, MICHELLE L. ARCHULETTA, a Shorthand

 3   Reporter, State of California, do hereby certify that

 4   the witness in the foregoing deposition was present and

 5   by me sworn as a witness in the above-entitled action at

 6   the time and place therein specified;

 7                That said deposition was taken before me at

 8   said time and place, and was taken down in shorthand by

 9   me, a Certified Shorthand Reporter of the State of

10   California, and was thereafter transcribed into

11   typewriting, and that the foregoing transcript

12   constitutes a full, true, and correct report of said

13   deposition and of the proceedings that took place;

14                That before completion of the proceedings,

15   the witness has requested review pursuant to Rule

16   30(e)(2).

17                 IN WITNESS WHEREOF, I have subscribed my

18   name.

19

20                DATED:   January 9, 2017.

21

22
                                      MICHELLE L. ARCHULETTA
23                                    CSR No. 11028

24

25


                                                         800.211.DEPO (3376)
                                                          EsquireSol utions. com
     Case 3:15-cv-03945-WHO Document 86-1 Filed 04/26/17 Page 111 of 123


     VYTENIS BABRAUSKAS, PH.D.                              January 03, 2017
     PIIC vs DANCO BUILDERS                                              139

 1                          DEPOSITION ERRATA SHEET
 2
 3   Job No. J0496144
 4   Philadelphia Indemnity Insurance Company
 5   vs.
 6   Danco Builders, et al.
 7

 8               DECLARATION UNDER PENALTY OF PERJURY
 9         I declare under penalty of perjury that I have read
10   the entire transcript of my Deposition taken in the
11   captioned matter or the same has been read to me, and
12   the same is true and accurate, save and except for
13   changes and/or corrections, if any, as indicated by me
14   on the DEPOSITION ERRATA SHEET hereof, with the
15   understanding that I offer these changes as if still
16   under oath.
17          Signed on the             day of
18   20
19
20
21                      VYTENIS BABRAUSKAS, PH.D.
22

23
24
25


     @ESQQIRJ~                                          800.211.DEPO {3376)
                                                        EsquireSolutions. com
Case 3:15-cv-03945-WHO Document 86-1 Filed 04/26/17 Page 112 of 123




        EXHIBIT 14
    Case 3:15-cv-03945-WHO Document 86-1 Filed 04/26/17 Page 113 of 123


        Fire
        Science and
        Technology                 Inc.




                                           REPORT

To:    Mr. Stephen Cole
The Cole Law Firm
3410 Industrial Blvd., Suite 100
West Sacramento CA 95691

Prepared by: Vytenis Babrauskas, Ph.D.

Date:   21 October 2016

Case:   Philadelphia Indemnity Insurance Co. v. Danco Builders

Circumstances of engagement
I was retained by Mr. Cole on or about 21 August 2016 to review the fire science and
performance aspects of this case.

Qua Iifications
I have over 40 years' experience in the fire safety science field and have a bachelor's degree in
Physics, a Master's degree in Structural Engineering, and a Ph.D. degree in fire protection
engineering. In 1975 I was the first U.S. scientist to develop and release a computer model for
computing the behavior of room fires. In 2003 I published the first-ever handbook about ignition
of fires. In addition, I have published more than 350 papers and reports in the field of fire safety
science. I am a member of The Combustion Institute, the International Association for Fire
Safety Science, International Code Council, International Association of Arson Investigators,
American Society for Testing and Materials, National Fire Protection Association, and Society of
Fire Protection Engineers. I am a Fellow in SFPE and have been awarded the Society's highest
honor, the Guise Medal. I have been awarded the highest honor by IAFSS, the Howard Emmons
Lectureship. I serve as a Principal Member on NFPA's Technical Committee on Fire
Investigations, which is the body that develops the standard document describing how fire
investigations are to be conducted, NFPA 921. Details of my qualifications are given in the
Curriculum Vitae appended to this Report.




926 Hayes Avenue, San Diego CA 92103
Phone: (619) 501-7739 Cell: (425) 894-6055                    email:vytob@doctorfire.com
    Case 3:15-cv-03945-WHO Document 86-1 Filed 04/26/17 Page 114 of 123

                                                                                                        2



Material examined
I have   examined the following material about this case:
    •     Willow Creek Fire Department report
    •     Capt. Cory Hicks deposition
    •     Dan Johnson deposition
    •     Chuck Barnhart deposition
    •     Jeff Hughes expert disclosure
    •     Larry Pelton expert disclosure
    •     Bernard Cuzzillo report
    •     Photographs of the 2013 fire taken by the Willow Creek Fire Department; the
          independent adjuster; Larry Pelton, and Madsen Kneppers
   •      1997 Urban-Wildland Interface Code
   •      2003 International Urban-Wildland Interface Code
   •      Test report: Anamet, Inc.
   •      Test report: MEI
   •      Test report: QAI Laboratories
   •      Test report: Western Fire Center
   •      Test reports and videos: University of California Forest Products Laboratory
   •      Willow Creek Apartments construction drawings
   •      Google Earth map annotated by Jeffrey Hughes, and with unannotated and annotated
          building plans and specifications.

Opinions on the case
My opinions in this case are the following. The opinions are based on my education, training and
experience, along with a review of the case materials. They are held to a reasonable degree of
scientific certainty.
             (1) On 16 December 2013, a serious fire occurred at the Willow Creek Apartments,
                 State Route 96, Willow Creek CA. According to the investigation of Larry Pelton,
                 the fire originated from improperly disposed cigarette butts on the outdoor deck of
                 Apt. F. The resident had dumped butts into a paper bag which, in turn, was sitting
                 on a cardboard box. I have also considered the report of Capt. Cory Hicks,
                 wherein he considers the fire cause to have been due to an electrical fault of
                 Christmas lights, however, I consider that Mr. Pelton's determination is the one
                 that is consistent with the bum patterns found at the scene .
            . (2) The building lans called for the subject deck to be made of either lightweight .
                   concrete (sheets S6.2 and S4.2) or Ultra Guard vinyl (sheet A5.l ). "Vmy "refers .
                   to polyvinyl chloride (PVC), which is a combustible, plastic material. By contrast,
                   lightweight concrete is a non-combustible building material. It cannot be ignited,
                   does not melt, will not bum, and will not contribute to the snread of a fire. In fact, _
                   ~ hen used as a floor surfacing, it will protect against effects of fire, since unlike
                  _combustible or melting materials, it will not form a hole allowing fire to drop
                   down to a lower level.
Case 3:15-cv-03945-WHO Document 86-1 Filed 04/26/17 Page 115 of 123




        EXHIBIT 15
 Case 3:15-cv-03945-WHO Document 86-1 Filed 04/26/17 Page 116 of 123




                BERKELEY RESEARCH COMPANY




            PHILADELPHIA INDEMNITY INSURANCE COMPANY,
                                         vs.

                              DANCO BUILDERS

                IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF CALIFORNIA
                         CASE NO. 15-cv-03945-WHO


                    The Role of Deck Material
             in the Fire at Willow Creek Apartments
             on Dec. 16, 2013 in Willow Creek, CA

                               EXPERT REPORT

                             Prepared Sept. 21, 2016

                                        for

                              D. DAVID STEELE
                             dsteele@yaronlaw.com
                           1300 Clay Street, Suite 800
                           Oakland, California 94612




                     by Bernard R. Cuzzillo, Ph.D., P.E., C.F.I.




600 ADDISON STREET    BERKELEY         CALI FOR.NIA         94710-1920   510.868.4350


                                                                                 Page 1
      Case 3:15-cv-03945-WHO Document 86-1 Filed 04/26/17 Page 117 of 123




    I. INTRODUCTION
    I am Dr. Bernard Cuzzillo. I have a B.S., an M.S. and a Ph.D in mechanical engineering from U.C.
    Berkeley. I am a licensed mechanical engineer and a Certified Fire Investigator (IAAI). I special-
    ize in the fire and thermal sciences. I am the founder of the Berkeley Research Company, which
    focuses on providing forensic consultation in the fire sciences. I have served as an expert in the
    "origin and cause" of fires in more than 40 trials and more than 70 depositions, since 1989. At-
    tached as Exhibit 1 is my current CV which includes my fee schedule. Attached as Exhibit 2 is a
    list of my prior trial or deposition testimony for the past four years.

    My assignment in this matter was to determine the origin and cause of the fire that occurred on
    December 16, 2013 at the Willow Creek Apartments in Willow Creek, California, and whether a
    composite deck on Apartment F, Building 524 caused or contributed to the fire and its spread. I
    make this report under Federal Rules of Civil Procedure, Rule 26(a)(2). All of my opinions below
    are expressed on a more likely than not basis, to a reasonable degree of scientific certainty. For the
    reasons expressed below, in my opinion, the deck in question and its materials played no substan-
    tial role in the fire, its cause and origin, or its spread.

    II. MATERIALS REVIEWED
    1. Numerous photographs of the fire scene from the Willow Creek Volunteer Fire Department
        and Larry Pelton;
    2. Fire Investigation Report, dated 12/ 16/ 13, by Captain Cory Hicks;
    3. Fire Investigation Report, dated 6/26/08, by Captain Cory Hicks;
    4. Decking samples from Willow Creek Apartments, undamaged in the fire;
    5. Deposition Transcripts of Cory Hicks, Chuck Barnhart, Larry Pelton & exhibits;
    6. Interrogatory Responses of Plaintiff;
    7. The following test reports of exemplar deck samples:
        • !-page report (4/6/14) by Frank Beall, which tested "plastic lumber" supplied by Plaintiff's
           expert, Larry Pelton plus photographs;
        • 12-page report (7/ 13/ 15) by WFCI - The Under Deck and Brand Tests for Trex composite
           deck samples.
        • 7-page report (7/13/16) by QAI-the standard flame spread and smoke density test, in
           accordance with ASTM Designation, E84-15b
        • 10-page report (7/27/16) by WFCI - The Under Deck and Brand Tests for the actual deck
           in accordance with the 2013 California Building Code, Chapter 7A (CSFM 12-7A-4).

    III. OPINIONS and CONCLUSIONS

             2008 FIRE
             An earlier fire had occurred on the same Apt. F balcony as the subject fire, and was also
    started by improperly discarded smoking materials. In that fire, there was damage to the siding,
    which was repaired for about $13,000; the deck was not damaged, and the fire did not extend into
    the attic. Figures 17 and 18 show the damage from this fire which appears to have been discovered
    and extinguished at an earlier stage of development than the 2013 fire. The 2008 fire was discov-
    ered by a neighbor standing outside the structure; he had time to warn the occupant of Apt F,
    throw a garden hose over the second-story railing and go up and extinguish the fire with it. The




-                                                                                                    Page2
    Case 3:15-cv-03945-WHO Document 86-1 Filed 04/26/17 Page 118 of 123




·fire damage in the 2008 fire is, more likely than not, representative of what the fire damage in the
 2013 fire would have looked like if it had been extinguished sooner. In neither case did the deck
 play a significant role.

         2013 (Subject) Fire
The subject fire was reported at 11:59 a.m. by a motorist driving on State Highway 96, also desig-
nated as the Big Foot Scenic Byway. The point of view of the motorist is about 700 feet away and
on the opposite side of the building from the Unit F balcony. To put this distance in perspective,
it would take 12 seconds to travel 700 feet at the 40 mph speed limit of Highway 96. This means
that the fire attracted a driver's attention and exhibited evidence of an abnormal fire from a long
distance, not within the normal driving viewing sight, and during peak sunlight conditions. This
level of conspicuity suggests that flames were most likely visible to the driver, as opposed to just
smoke which could be from an intentional burn pile or bonfire in this remote area. Thus, this
indicates that the fire had entered the attic and had breeched the roof by the time it was report-
ed. This is consistent with Unit F's Nancy Cheatham's statement that she heard pounding on her
door, warning of the fire, soon after she had discovered it herself. The fire department arrived
8 minutes later; not a bad response time for a rural, volunteer department. This means that the
fire department never had a chance to limit the fire to the deck since it was already in the attic
and through the roof at least 8 minutes before they arrived, not to mention the time it would
have taken for the necessary pre-suppression procedures including size-up of the critical factors,
formulating a risk-management plan, determining overall strategy including deciding whether
to operate in offensive or defensive modes, formulation of an incident action plan, establishing
personnel accountability, and conducting a primary search for victims 1•

The sequence of ignition and growth of the fire are as follows:

1. The fire initially burned in the smoldering combustion of Ms. Cheatham's cigarette which she
   discarded initially in an ash tray. She then dumped the contents of the ash tray into a paper
   bag which became the first (unintentionally ignited) fuel.

2. The second fuel was a cardboard box used as a makeshift table located against the north wall
   of the balcony.

3. The third fuel was the north wall which consisted of vinyl siding over asphalt-saturated build-
   ing paper, which, in turn, covers oriented strand board (OSB). Although the vinyl doesn't
   burn vigorously, it is easily breeched because it is thin and is lapped to shed water; this lapped
   configuration tends to capture hot gases and flames rising from a fire against a wall. This al-
   lows the fire to gain access to the building paper and OSB which does burn intensely. Building
   paper's technical name is asphalt-saturated kraft paper, and is used as a moisture barrier. It is,
   as the name suggests, petroleum-soaked paper. As one might imagine, it burns well, particu-
   larly on walls-here, the vertical orientation promotes flame spread. OSB's poor fire perfor-
   mance is rooted in its structure which consists of roughly 4" long strips or "strands" of wood
   veneer that are glued together. The glue fails easily upon exposure to fire and burns along with


1       Goodson, C. ed., Essentials of Fire Fighting and Fire Department Operations, 5th ed. 2008, pp 70-71.



                                                                                                               Page3
  Case 3:15-cv-03945-WHO Document 86-1 Filed 04/26/17 Page 119 of 123




    the wood which provides a non-melting substrate. These thin strips of glue-coated wood also
    provide a very high surface-to-volume ratio which results in fast combustion and thus high
    rates of heat release. Ignition of the north wall was the major accelerating factor in this fire,
    and is what allowed its flames to reach the ceiling, penetrate it, and enter the attic.

4. Once in the attic, the fire burns well because of two factors: First, the wood fuel is exposed and
   all attic surfaces are facing other attic surfaces. This provides mutual thermal radiation which
   promotes fast fire growth. Secondly, with the thin roof deck penetrated, natural convection
   provides a chimney-like draft of oxygen-laden air to feed the fuel burning in the attic.

5. As the north wall burned and penetrated the attic, OSB chips dropped to the deck and even-
   ~ally ignited the area that eventually fell through, about 3.6% of the deck. Other points on the
   deck also were attacked by falling debris and ignited. Mr. Pelton agrees that these other sites
   were i nited by falling debris, but he doesn't agree that the 3.6% hole was ignited by this same
   mechanism. In this re, e composite ec                                                        ec .

6. As the tests at Western Fire Center demonstrated, once ignited, the deck boards burn and be-
   gin dropping burning particles, and ultimately collapse. But this only happened to about 3.6%
   of the total deck area. More likely than not, this indicates that the deck ignited late in the fire,
   well after the attic fire was self-sufficient, and fire suppression efforts were already underway.
   The fallen deck boards caused only superficial damage to the Unit C north wall, as illustrated
   in Fig. 8. If the deck had ignited early, and had been an important player in the growth of the
   fire, the entire deck would have become involved in the fire and all of the deck boards would
   have melted and fallen, leaving the set of joists with no deck boards. The evidence indicates
   that the small fire involving the deck boards was extinguished late in the fire, and not long
   after it ignited.

        CAPTAIN HICKS' CONCLUSION

Captain Hicks' conclusion was that the heat causing ignition was generated by the Christmas tree
lights strung below the Apartment F deck. He surmised that the wires shorted on a supporting
nail, igniting the pressure-treated structural wood. I disagree with his hypothesis, and I do agree
with Mr. Pelton in this regard. I agree with Mr. Pelton that we see no evidence that the lights
were even plugged in. And if they were plugged in, they would not have likely ignited this fire
for several reasons. First, the failure of the wire that Capt. Hicks describes would be incapable of
delivering significant heat to the hanger nail-which was still present in the wooden beam after
the fire-because the electrical circuit is heavily protected by fuses. Second, the fire patterns don't
support an origin at this location; in particular, little fuel is consumed there, and there are no
patterns of thermal plumes rising from that location. Third, the wooden beam would have burned
far more than it did because it would have had to be ignited early and in smolder. And finally, the
nail holding Christmas lights would have fallen out because of the degradation to the wood that
the necessary heat for ignition would have caused. In addition, there was no smoke staining and
hot-layer demarcation line below the deck that would have been present if a fire had burned under
it and accumulated there.




                                                                                                   Page4
  Case 3:15-cv-03945-WHO Document 86-1 Filed 04/26/17 Page 120 of 123




        DECK MATERIAL

A different deck material, including redwood, Douglas fir, or concrete, with the same debris on
it would have burned from the debris vertically, up the north wall towards the attic in the same
fashion.

        STRUCTURE AND GRAPHICS

The structure is a two-story, wood-framed, six-unit apartment building built around 2006. The
interior is protected by a residential fire sprinkler system that does not protect the balconies, pati-
os, and attic space. The attic space is undivided with respect to fire. Figure la shows vicinity maps
and an aerial view with annotations showing the compass orientation and origin location. Fig. 1b
shows the distance to the passing motorist from the fire. Fig. 1c shows the driver's view of the fire
building.

The origin of the fire was on the Unit F balcony as shown in Figure 2 which is a ground-level
view of the west elevation, showing that balcony and Unit C's patio below it. This is where the fire
was first witnessed by Apartment F tenant, Nancy Cheatham, as reported by Captain Cory Hicks
of the Willow Creek Volunteer Fire Department and by Mr. Pelton. Figure 3 is a set of photos, all
taken from roughly the same location, showing the burned-open attic at the top of the page and
progressing down the page to Unit C's patio at the bottom of the page. It is clear even so far that
the origin was not on Unit C's patio as further shown in Figure 4 which shows that most of Unit
C's patio is undamaged. Figure 5 is a set of two photos, taken from roughly the same location,
showing the underside of Unit F's deck above, and Unit C's patio below. These photos show two
things: 1. Most of the composite deck (at least 96%) remains in place and is relatively undam-
aged. 2. Most of the contents and fascia on Unit C's balcony (below) are undamaged, including
low-melting temperature, low thermal inertia items that would have been easily damaged by heat
exposure.

Figure 6 begins a series of photos looking at the north wall of Unit C's patio and Unit F's bal-
cony above. The north wall on the lower floor is mostly undamaged. What damage is visible is
confined to the upper, northern edge. Figure 7 shows fire debris that has fallen through the hole
in the balcony deck above. This debris appears to include some yellow fiberglass insulation that
is buried in burned debris. Figure 8 shows Captain Hicks investigating the damage to that wall,
pulling off damaged vinyl siding to reveal the undamaged OSB panel behind it.

In Figure 9, the camera moves onto the patio of Unit C to look in an upwards and westerly direc-
tion at the fire-damage to the underside of the balcony deck above. The burn patterns show that
where fire has penetrated the deck, it did so from above. This photo-illustration also calls out the
names of the various structural components.

Figure 10 is a closeup of the origin location hypothesized by Captain Hicks. It shows that there is
no focus of damage to the wooden beam at the nail supporting the Christmas light strings. For
this hypothesis to be supported, there would need to be such focused damage there.




                                                                                                  Page5
    Case 3:15-cv-03945-WHO Document 86-1 Filed 04/26/17 Page 121 of 123




Figure 10 also shows the broken edges of some green deck boards. Toe absence of burn damage on
these edges indicates that the fracture occurred po~t-fire. This suggests that the hole was enlarged
from its immediate post-fire size. This enlargement could happen during the overhaul stageoffire
suppression when fire crews are probing for hidden smolder.

Figure 11 begins a series of views of the damage to the balcony deck and its north wall. Toe two
photos in that figure show undamaged green composite decking where the fire debris has been
cleared away. In Figure 12, the viewer has moved onto the deck and is looking down at the ori-
gin area that is pointed to by the base of a U-pattern burned into the north wall2. This U-pattem
is formed by the intersection of the fire plume with the wall; this indicates the origin . Toe fire
has melted away the vinyl siding, burned through the OSB sheathing, began burning the wood
studs, and finally burned the paper off of the back of the interior wall's gypsum wallboard. The fire
plume penetrated the ceiling above the balcony and entered the attic at this location. Once in the
attic, the fire ran toward the ridge and penetrated the roof. Figure 13 is a set two photos showing
the U-pattern writ large. Figure 14 shows a larger hole in the decking than was apparent in Figure
12, before debris removal, and again shows the U-pattern burned into the north wall. Toe photos
comprising Figure 15 simply documents that Unit F's balcony was covered above by ceiling and
roof. Figure 16 is a photo taken before repairs of the 2008 fire. It shows vinyl siding covering the
ceiling of the balcony.

        SUMMARY AND CONCLUSIONS

In summary, the burn patterns comport with the debris on the deck of Apt. F as the origin. Those
burn patterns include a U pattern on the north wall of the Apartment F deck. The fire progressed
into the undivided attic space through the ceiling that covers the deck. There is no other area with
significant fire damage below the attic.

The first fuel ignited was contents on the deck. Aside from isolated holes caused by flaming debris
falling on the deck from above, the deck was largely protected from fire damage by these contents.
No significant fire burned under the deck as evidenced by:
• the lack of significant burn damage-to contents or structure-on the patio of Apartment C
     which is directly below the deck of Apartment F,                               ·
• the lack of any smoke layer demarcation on the Unit C patio walls, and by
• the lack of soot deposits on the underside of most of the deck.

Toe largest hole in the deck (only 3.6%) was more likely than not created late in the fire and more
likely than not enlarged post-fire. If it had been created earlier, it would have caused more damage
to the north wall at the floor level of the patio below. This wall received only superficial damage at
patio floor level below. Toe fire test results show that flaming deck material will readily extend the
fire to the level below.

Moreover, the fire test results (10-page report cited on page 2) on samples of the subject decking
show that it collapses and drops burning material when exposed to a severe fire. In contrast, the

2       NFPA 921-2014, 6.3.7.4 U-Shaped Patterns



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  Case 3:15-cv-03945-WHO Document 86-1 Filed 04/26/17 Page 122 of 123




subject decking survived the fire with little damage, indicating that it was never a significant fuel
in the subject fire.

In other words, whatever its fire-performance characteristics, the deck was not put to much of a
test by the subject fire, because at least 96% sustained little or no damage.




                                                                                                  Page?
Case 3:15-cv-03945-WHO Document 86-1 Filed 04/26/17 Page 123 of 123
